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  I   DWIN LEGAL, APC                                                 ELECTRONICALLY FILED
      Evan Dwin (SBN 241027)                                           Superior Court of California,
  2                                                                       County of San Diego
      2121 Palomar Airport Road, Suite 170
      Carlsbad, CA 92011                                                1112012018 at 04:46:02 Pt,1
  3   Tel: (760) 536-6471                                               Clerk of the Superior Court
      Fax:(760) 585-4649                                            By \.l!ronica Navarro, Deputy Clerk
  4
      Attorneys for Plaintiff
  5   KATHYRN KAILIKOLE
  6

  7                             SUPERIOR COURT OF CALIFORNIA
  8                               FOR THE COUNTY OF SAN DIEGO

  9   KATHRYN KAILIKOLE, an individual;           Case No.   37-2018-00058754- CU- 'tfJJT- NC

 I0                       Plaintiff,              COMPLAINT FOR:
             VS.
 11
      PALOMAR COMMUNITY COLLEGE
 12   DISTRICT, a governmental entity; and DOES   (1) RETALIATION IN VIOLATION OF 20
      I through 25, inclusive;                        U.S.C. § 1681 et. seq.
 13
                                                  (2) RETALIATION IN VIOLATION OF 42
 14                      Defendants.                  U.S.C. § 2000d et seq.
 15                                               (3) RETALIATION IN VIOLATION OF
                                                      GOVERNMENT CODE § 12940(h)
 16
                                                  (4) DISABILITY DISCRIMINATION IN
 17                                                   VIOLATION OF GOVERNMENT
                                                      CODE § 12940(a)
 18
                                                  (5) FAILURE TO ACCOMMODATE
 19                                                   DISABILITY IN VIOLATION OF
                                                      GOVERNMENT CODE § 12940(m)
 20
                                                  (6) FAILURE TO ENGAGE IN THE
 21                                                   INTERACTION PROCESS IN
                                                      VIOLATION OF GOVERNMENT
 22                                                   CODE § 12940(n)
 23                                               (7) RETALIATION IN VIOLATION OF
                                                      LABOR CODE§ 1102.5
 24

 25
                                                     DEMAND FOR JURY TRIAL
 26

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               Plaintiff Dr. Kathryn Kailikole ("Dr. Kailikole" or "Plaintiff") hereby alleges the following

   2 Complaint against defendant Palomar Community College District ("Defendant" or the "District")

   3 as follows:

   4                                            INTRODUCTION
   5           I.     This case concerns the District's campaign to discredit, discriminate against,

   6 embarrass, retaliate against and illegally terminate Plaintiff, who was the Dean of Mathematics and

   7 the Natural and Health Sciences ("MNHS") Di vision for Palomar Community College.

   8          2.      Plaintiff was first employed by the District as the Interim Dean of the MNHS

   9 Division in January 2016. In or about July 2017, Plaintiff was officially named to the role Dean of

  I 0 the MNHS due to her excellent performance as an administrator, her leadership in managing the

  11   faculty, her uncompromising commitment to the well-being o.f students and her ability to raise funds

  l 2 for the College.

 13           3.      Jn May of2017, Plaintiff received a report from a faculty member, Dr. Daniel
 14    Finkenthal, that two tenured professors in the Physics and Engineering Department, Takashi

 15 Nakajima ("Nakajima") and Arthur Gerwig ("Gerwig") were engaged in racist and sexually

 16 harassing conduct. The incident was reported to Dr. Finkenthal by a student who was afraid to file

 17 the complaint on his or her own behalf for fear of retaliation by Nakajima or Gerwig. Nakajima's

 18 and Gerwig's conduct included posting, or allowing to be posted, racist and sexually explicit

 19 messages in the physics lab. The postings included, among other things, a written mnemonic that

 20 referenced "black boys" raping girls, a racist word play on a Hispanic student's name, a post

 21    referring to "#blackcock slut" and a sexually explicit drawing of a female student. Plaintiff

 22    immediately reported the harassing conduct by Nakajima and Gerwig to Shawna Cohen, the

 23    District's Manager of the Equal Opportunity and Compliance and Deputy Title IX Coordinator.
 24           4.      Because of the outrageous nature of the conduct by Nakajima and Gerwig, and the
 25    imminent danger posed to students as a result of it, Plaintiff requested Nakajima and Gerwig be
 26 placed on paid leave and removed from the classroom while the District investigated the racist and

 27    harassing postings. The District refused this request. This decision was perplexing to Plaintiff

 28    because the District officials who reviewed the postings determined right away that they violated

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      state and federal anti-discrimination regulations, including Title IX. Further, this was not the first

  2 time that Nakajima and Gerwig engaged in discriminatory conduct that was known to the District.

  3 In fact, 2009 (seven years before Plaintiff worked at the College), the United States Department of

  4   Education's OCR Office investigated the Physics and Engineering Department and found that

  5 Nakajima and Gerwig discriminated against a disabled student. Even though Nakajima and Gerwig

  6   were found by the OCR Office to have engaged in discrimination, the District did not punish them

  7 and, instead, merely ordered them to undergo sensitivity training.

  8           5.     After the District's Title IX officials reviewed the postings in the physics lab, the

  9   District began an investigation of Nakajima and Gerwig. The District's investigation ofNakajima's

 I0   and Gerwig's racist and sexually harassing conduct lasted from about July 2017 until November

 II   2017.

 12           6.     On November I, 2017, the District's investigator concluded that Plaintiff and Dr.

 13   Finkenthal were credible, and that Nakajima and Gerwig were guilty of violating the College's anti-

 14   harassment policies by either allowing the postings or even making the postings themselves, as well

 15   as other misconduct. The investigator also concluded that Nakajimi and Gerwig lied to the

 16   investigator about their involvement with the postings.

 17           7.     On December 4, 2017, Plaintiff met with Dr. Jack Khan, the Assistant

 18   Superintendent and Vice-President Instruction to discuss her job duties. In the meeting, Plaintiff

 19   advised Dr. Khan that she was suffering from anxiety and expressed concern about her

 20   overwhelming workload, which included duties that are not typically part of the Dean'sjob. Dr.

 21   Kahn assured Plaintiff that she was an "incredibly valuable member of the team" and that he was

 22   dedicated to providing her with his "complete support." In other words, Dr. Kahn acknowledged

 23   that Plaintiff suffered from a disability and indicated that the District would accommodate it.

 24           8.     On or about December 12, 2017, the District placed Nakajima and Gerwig on one

 25   month of unpaid leave. It was clear from the District's toothless response to the overtly racist and

 26   sexist conduct in the classroom by professors with a history of discriminatory conduct that the

 27   District's goal was not to protect students, but rather to avoid the appearance of anything out of the
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      ordinary involving Nakajima and Gerwig. Plaintiff was shocked by the District's disregard for the

  2 well-being of the students by failing to take appropriate action against Nakajima and Gerwig.

  3           9.      On December 14, 2017, Plaintiff was mysteriously and suddenly placed on paid

  4   leave. The decision to place Plaintiff on paid leave was barely a week after Dr. Kahn pledged to

  5   accommodate her medical condition and within two days of the District's failure to impose

  6 appropriate discipline on Nakajima and Gerwig for the overtly racist and sexually harassing conduct

  7   reported by Plaintiff.

  8           10.      When Plaintiff was placed on paid leave, she was escorted off campus like a

  9 criminal, locked out of her office, cut off from her e-mail, relieved of all of her duties in overseeing

 10   her Division and instructed not to speak to anyone at the college. Plaintiff was not given any

 11   information about why she was suddenly removed from the campus except that she was told it

 12 allegedly had to do with an investigation of a purported "confidentiality" issue. Plaintiff was

 13   shocked and confused by the District's action, especially given its earlier refusal to place Nakajima

 14 and Gerwig on paid leave when they were caught red-handed engaging in racist and sexually

 15   harassing conduct.

 16           11.    The District left Plaintiff on paid leave for 5 months without ever informing her of

 17   the specific nature of the charges against her. No mention was made to Plaintiff about any alleged

 18 job performance issues. During that time, Plaintiff was forbidden from checking in with her

 19 faculty, her staff or students and had no idea what was being said about her on campus, although

 20   she did receive an unsolicited message from a faculty member informing her that the District was

 21   telling faculty members that Plaintiff was on medical leave, which was false.

 22           12.    In January 2018, Dr. Kailikole hired an attorney and throughout January and

 23   February of2018 made repeated attempts to obtain further information about why she was placed

 24   on leave. However, the District refused to provide any substantive information. The only thing the

 25   District would disclose to Dr. Kailikole was that the investigation originated in the Physics and

 26   Engineering Department. When provided with this information, Dr. Kailikole informed the District

 27   that she believed the decision to suddenly place her on leave and investigate her was in retaliation

 28   for reporting Nakajima and Gerwig's misconduct.

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              13.    On February 27, 2018, while she was still on paid leave, and less than a week after

  2   she expressed her belief that the decision to place her on leave was retaliatory, the District decided

  3   not to renew Plaintiff's contract. The District did not provide Plaintiff with a reason for the

  4   decision not to renew her contract.

  5           14.    On February 28, 2018, the day after her contract was non-renewed without

  6 explanation (and prior to any investigation concluding), Plaintiff was interviewed by the District's

  7 investigator about, among other things, an incident where Nakajima and Gerwig used an airsoft gun

  8 in the classroom. When that incident happened, in April 2016, Plaintiff reported it to the Campus

  9 Police, which conducted and completed an investigation into the matter and concluded that the gun

 I0   should not have been used without prior approval by the police. Although Nakajima and Gerwig

 11   used the gun for at least the two previous years (i.e., before Plaintiff arrived on campus), Plaintiff

 12   was the first, and only, administrator to ever do anything about it. After the Campus Police

 13   confirmed that approval was required, Plaintiff directed Nakajima and Gerwig not to use the gun

 14   again without prior approval from the police.

 15           15.    The airsoft gun incident was mentioned to Plaintiff by Dr. Lisa Norman, the

 16 Assistant Superintendent/Vice President, Human Resources, in the fall of2017, after Plaintiff

 17   described it to the investigator in connection with the investigation of the racially and sexually

 18   harassing conduct by Nakajima and Gerwig. During that time, Dr. Norman also advised Plaintiff

 19   that she or Dr. Finkenthal, who was now the Chair of the Physics and Engineering Department,

 20   should observe Nakajima and Gerwig to determine if they were violating any rules. Accordingly,

 21   Plaintiff contacted Dr. Finkenthal to tell him about the incident with the airsoft gun and to make

 22   sure it was not being used any more. Dr. Finkenthal said he did not think a gun was being used and

 23   requested further information so he could check on it. Accordingly, on or about December 8, 2017,

 24   Plaintiff forwarded Dr. Finkenthal an e-mail about the airsoft gun incident. Plaintiff is informed

 25   and believes that Dr. Norman reviewed this e-mail as part ofa search of Dr. Kailikole's e-mails that

 26   was done without Dr. Kailikole's consent and as part of an effort by the District to look for

 27   information to discredit Dr. Kailikole after she reported Nakajima's and Gerwig's racist behavior.
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              16.    Plaintiff's obvious, and only, purpose in forwarding the e-mail about the airsoft gun

  2   incident to Dr. Finkenthal was so that Dr. Finkenthal could confirm Nakajima and Gerwig were

  3   following Plaintiff's prior directive not to use the gun any more. Advising Dr. Finkenthal of the

  4   prior incident with the airsoft gun was entirely proper and also consistent with the recommendation

  5 by Dr. Norman that Dr. Kailikole involve Dr. Finkenthal in her oversight of Nakajima and Gerwig.
  6           17.    When the District's investigator interviewed Plaintiff about the alleged

  7 "confidentiality" issue, he asked her if she ever agreed with Dr. Finkenthal that he would provide

  8 information about the airsoft gun incident to any other person. Plaintiff informed the investigator

  9 that she never had any agreement with Dr. Finkenthal to provide the information to anyone else.

 10 The investigator also asked Plaintiff if Dr. Finkenthal ever indicated to her that he intended to

 11   provide the information about the airsoft gun incident to his wife or members of the District's

 12 governing Board or "anything like that." Plaintiff informed the investigator that Dr. Finkenthal

 13   never indicated to her that he planned to provide the information to anyone else.

 14           18.    On or about March 4, 2018, while she was still on paid leave without explanation,

 15   Plaintiff received another unsolicited message from a faculty member informing her that the faculty

 16   member was told by Dr. Kahn, the Vice-President of Instruction, that Dr. Kailikole would not be

 17   returning. Plaintiff was disturbed by the fact that faculty members were being told she was not

 18   returning, particularly when the investigation of the alleged "confidentiality" issue was pending,

 19 and she had received no information about the status of her employment.

 20          19.     On May 2, 2018, nearly two months after it began telling faculty members that

 21   Plaintiff was not returning, Plaintiff received a letter informing her that Dr. Kahn was

 22   recommending her termination.
 23          20.     One of the reasons stated for Plaintiff's termination was a purported conclusion by

 24   the District's investigator about Plaintiff's e-mail to Dr. Finkenthal regarding the airsoft gun

 25   incident. Specifically, the investigator claimed that he did not believe that Plaintiff forwarded Dr.

 26   Finkenthal the information about the airsoft gun incident for her stated, and obviously proper

 27   purpose, of advising the Chair of the Department ofrelevant information in connection with his

 28   oversight of two Professors who had just been found guilty of grossly improper racist and harassing

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      conduct in the classroom. Instead, the investigator claimed to have reached the absurd conclusion

  2   that Plaintiff was actually part of a conspiracy to leak confidential information about Nakajima and

  3   Gerwig outside the College. The only "evidence" cited in support of this alleged conspiracy is that,

  4   three days after Plaintiff forwarded the e-mail about the gun incident to Dr. Finkenthal, Dr.

  5   Finkenthal forwarded the e-mail to his wife. Of course, Plaintiff had no idea that Dr. Finkenthal

  6   forwarded the e-mail to his wife or anyone else, and she certainly did not ask him to do it. Further,

  7   the investigator does not explain why Plaintiff would try to "leak" information to Dr. Finkenthal's

  8   wife. The very idea that Dr. Finkenthal's e-mail to his wife implicates Plaintiff in some type of

  9   leaking conspiracy is nonsensical on its face. Accordingly, Plaintiff is informed and believes that

 I0   alleged leak "conspiracy" was manufactured by the District because it lacked any legitimate reason

 11   to non-renew and terminate Plaintiffs contract.

 12           21.     In addition to the absurd allegation that Plaintiff conspired to leak confidential

 13   information to Dr. Finkenthal' s wife, the May 2, 2018 letter contains a list of alleged performance

 14   issues, none of which would constitute cause for termination and none of which were ever presented

 15   to Plaintiff as potential reasons for any type of discipline, let alone termination.

 16           22.     To add insult to injury, as an additional purported reason for the termination, the

 17   District stated Plaintiff purportedly failed to appropriately monitor Nakajima and Gerwig. This

 18   reason is false and pretextual on its face, given that Plaintiff was the first Dean to actually exercise

 19   any supervision over Nakajima and Gerwig, including reporting their overtly racist and sexually

 20   harassing conduct to the District only to see the District willfully fail to take any real action.

 21   Plaintiff is informed and believes that the District was angry at Plaintiff for reporting the harassing

 22   conduct by Nakajima and Gerwig because it required the District to take action against tenured

 23   professors which risked raising suspicions and questions by students and faculty if they were

 24   terminated or placed on an extensive leave.
 25           23.     On June 13, 2018, the District terminated Plaintiffs employment.
 26           24.     The District's decisions to place Plaintiff on paid leave, non-renew her contract and

 27   terminate her were all clearly made to retaliate against her for complaining about Nakajima and

 28   Gerwig' and the retaliatory decision to place her on leave, to discriminate and retaliate against her

                                                         . 7.
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      for requesting a disability accommodation and to avoid accommodating the disability she disclosed

  2   to the District barely a week before she was mysteriously placed on leave and subjected to a bogus

  3   investigation. Indeed, until the District was forced to deal with Plaintiffs report about the

  4   Nakajima and Gerwig and her disclosure of her disability, she was never given any indication that

  5 her job was in any danger and, in fact, received a stellar review and a promotion and was told that

  6 she was an "incredibly valuable member" of the administration.

  7          25.     Because of the District's discriminatory and retaliatory conduct, after exhausting her

  8 administrative remedies with the Department of Fair Employment and Housing ("DFEH"), Plaintiff

  9   brings this action for: I) retaliation in violation of20 U.S.C. § 1681; 2) retaliation in violation of

 10 42 U.S.C. § 2000d; 3) retaliation in violation of Government Code section 12940(h); 4) disability

 11   discrimination in violation of Government Code section 12940(a); 5) failure to accommodate

 12 disability in violation of Government Code section 12940(m); 6) failure to engage in the interactive

 13   process in violation of Government Code section 12940(n); and 7) retaliation in violation of Labor

 14 Code section 1102.5.

 15                                         JURISDICTION AND VENUE

 16          26.     This Court has personal jurisdiction over Defendants because the District and

 17   Palomar College are in California and because the transactions described in this Complaint took

 18   place in California.

 19          27.     Venue is proper in this Court because the injuries alleged herein took place in the

 20 County of San Diego and the District resides in the County of San Diego.

 21                                              THE PARTIES

 22          28.     Plaintiff is an individual residing in San Diego County.
 23          29.     The District is a public entity which operates in, and has its principal place of

 24   business in, San Diego County.

 25          30.     Plaintiff does not know the true names and/or capacities, whether individual,

 26   partners, or corporate, of the Defendants sued herein as DOES 1 through 20, inclusive, and for that
 27   reason sues said Defendants under fictitious names. Plaintiff will seek leave to amend this

 28   Complaint when the true names and capacities of these Defendants have been ascertained. Plaintiff

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      is informed and believes and thereon alleges that these Defendants are responsible in whole or in

  2   part for Plaintiffs alleged damages.

  3                 FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

  4      A. Plaintiff Is Appointed As Interim Dean.

  5           31.     On or about January 13, 2016, Daniel Sourbeer, the Dean of the Mathematics and the

  6   MNHS Division accepted the position oflnterim Vice-President of Instruction which required the

  7   College to hire an interim Dean.

  8           32.     Plaintiff was hired as interim Dean of the MNHS Department or about January 13,

  9   2016. Plaintiff was recommended for the position by Sourbeer.

 10          33.      The term of Plaintiffs written Contract to be employed as Interim Dean was January

 11   13, 2016 through June 30, 2016. The Agreement was amended on May 10, 2016 so that Plaintiffs

 12   term as Interim Dean was extended from July l, 2016 through June 30, 2017. Thus, as of May 10,

 13   2016, the administration and Board was plainly satisfied with Plaintiffs performance.

 14          34.      Pursuant to her contract, Plaintiff could only be terminated for a "material and

 15   substantial breach" of her Agreement and/or "for cause." Cause is defined as "actions, omissions,

 16   or behaviors which are detrimental to the operations of the District and/or its major instructional,

 17   student and administrative divisions, or which impair the District's mission purpose or objectives ..

 18   . which includes, but is not limited to, unsatisfactory work performance, dishonesty, misconduct,

 19   unprofessional conduct, or insubordination."

 20      B. Plaintiff Reports Professors Najaiima and Gerwig To The Campus Police For

 21          Improperly Using An Ainrnn In The Classroom.

 22          35.      Shortly after her appointment as interim Dean, on or about April 19, 2016, two

 23   students advised Plaintiffs assistant, Debra McBrayer of a safety concern regarding their Physics

 24   230 Class.

 25          36.      The students reported that Nakajima used an airsoft gun as part of a rotational inertia

 26   lab in an unsafe manner. Specifically, the students alleged that, among other things, Nakajima

 27   failed to take appropriate safety measures and stayed in the back of the room talking with Gerwig

 28   and other students while the gun was being used.

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              37.     Immediately after receiving the report from the two students, Ms. McBrayer reported

   2   the incident to the Campus Police.

   3          38.     When Plaintiff returned to her office, she spoke with the students and Ms. McBrayer.

   4   Ms. McBrayer informed Plaintiff that she spoke with the Campus Police. Plaintiff responded by

   5   calling the Campus Police and requesting that they come to her office to speak with her.

   6          39.     At Plaintiff's request, the Campus Police conducted an investigation, including

   7 dispatching Officer So'Oto of the Palomar Community College Police Department to meet with

   8   Plaintiff and the two students.

   9          40.     During the course of the investigation, Plaintiff provided Officer So'Oto with a copy

  IO of the District's policy on the use of weapons in the class room, which requires that such uses are
  11   approved by the Chief of Police. The students later e-mailed Dr. Kailikole the details of their

  12   allegations as well as a video, which she provided to the Campus Police.

  13          41.     In addition to reporting the matter to the Campus Police, Plaintiff reported the

  14   incident to her supervisor, Sourbeer.

  15          42.     Officer So'Oto interviewed Nakajima as part of his investigation. Nakajima told him

  16   that he had been using the gun as part of his curriculum for two years.

  17          43.     Officer So'Oto determined that Nakajima needed to get approval from the Chief of

  18   Police ifhe wanted to use the gun in class. Accordingly, Plaintiff directed Nakajima to cease using

  19   the gun without first obtaining approval from the Chief of Police.

  20          44.     At the time of the gun incident, Plaintiff had only worked for the District for about

  21   three months. Thus, she was the first (and only) administrator to ever take any action on

  22   Nakajima's use of an airsoft gun in his physics lab, even though it started two years before

  23   Plaintiff's appointment as Dean. Plaintiff did not receive any further complaints about the gun after

  24   she directed Nakajima to stop using it.

  25      C. The District Promotes Dr. Kaikole to Dean Of The MNHS Division.
  26          45.     On April 28, 2017, Sourbeer submitted a formal evaluation of Plaintiff's
  27   performance as Interim Dean.

  28

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              46.       In the review, Sourbeer stated that Plaintiff"stepped into the MNHS Interim Dean

   2   position with confidence and passion." Sourbeer further stated that Plaintiff had been "a fierce

   3   advocate for students and has taken on some difficult issues."

   4          47.       In addition, Sourbeer determined that:

   5                •   "[m]orale" was high in the division which "speaks" to Plaintiffs "ability to work

   6                    effectively with faculty and staff in her division."

   7                •   Plaintiff is "an excellent communicator" and that her "contributions toward grant

   8                    writing and management have been superior."

   9                •   Plaintiff has "an excellent understanding of budgets and how to use them.

  10                •   Plaintiff has "a tremendous work ethic and works to exhaustion" and that she "wrote

  11                    a funded proposal for $2m in one day."

  12                •   That the "welfare" of the students is "always in [Plaintiffs] thoughts, and she is also

  13                    appreciative of the commitments and work of staff and faculty."

  14          48.       In May 2017, Dr. Jack Kahn was hired by the District as the Vice-President of

  15   Instruction. Rather than exercise his retreat rights, Sourbeer retired, which left open the permanent

  16   position of Dean of the MNHS Department. Due to its satisfaction with Plaintiffs performance as

  17   Interim Dean, the Board promoted Plaintiff to the position of Dean of the MNHS Department.

  18          49.       Plaintiff was hired as Dean of the MNHS Department pursuant to an Employment

  19   Contract with the District dated as effective April 11, 2017 and executed by Plaintiff on May 9,

  20   2017. The term of the Employment Contract is July I, 2017 through June 30, 2019. As with her

  21   prior contracts, Plaintiff could only be terminated for "a material and substantial breach of the

  22   agreement" and/or for "cause."

  23      D. Plaintiff Reports Racist And Sexually Harassing Conduct By Nakajima and
  24          Gerwig.
  25          50.       Sometime in May 2017 Dr. Finkenthal reported to Plaintiff that a student complained

  26   to him about various posters and other materials that were posted conspicuously on the walls and

  27   doors of rooms NS-249 and NS-252 in the Physics and Engineering Department. Dr. Finkenthal

  28   showed the materials to Plaintiff. NS-249 and NS-252 are rooms used by Nakajima and Gerwig.

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              51.       On May 31, 2017, in response to the report from Dr. Finkenthal, Plaintiff reported to

   2   Shawna Cohen, Manager Equal Employment Opportunity and Compliance with the District's

   3   Deputy Title IX Coordinator, that she received the report regarding the offensive postings. The next

   4   day, a group of administrators reviewed the materials and removed them after determining that the

   5   postings violated federal, state and District nondiscrimination regulations, including Title IX.

   6          The postings included:

   7                •    A recitation of a nmeumonic device stating: "Black Boys Rape Our Young Girls

   8                     But Violet Gives Willingly Get Some Now."

   9                •    A posting entitled "Vogue May Edition" which portrayed a student lying across the

  10                     hood of a pickup truck holding a piece of paper with a drawing of a penis in an

  11                     enlarged and gratuitous characterization.

  12                •    A posting portraying a latino student named Juan which stated "2017 you know you

  13                     juant me?/Hello Ladies" as a racist play on the student's name.

  14                •    A sexually harassing and racist posting which stated "Dick got her like" which was

  15                     accompanied by a hashtag remark of"#black cock slut."

  16                •    A derogatory posting about a female student, who is short in stature, which stated

  17                     "Jen's Height in Influence".

  18          52.       Plaintiff is informed and believes that students, student assistants employed by the

  19   District and faculty including females, latinos and other members of minority groups, were or could

  20   be subjected to the postings.

  21          53.       Because of the seriousness of the allegations, and the facially harassing content of

  22   the postings personally observed by Plaintiff and the other administrators, Plaintiff recommended

  23   that Nakajima and Gerwig be removed from the classroom. This request was denied.

  24          54.       On June 28, 2017, nearly a month after Plaintiff reported the harassing postings to

  25   Ms. Cohen, Adrian Gonzalez, the Assistant Superintendent/Vice President, Student Services and the

  26   District's Title IX Coordinator, notified Ms. Cohen that an investigation was required.

  27          55.       The investigation was conducted by an outside attorney, Jeffrey Love. In conducting

  28   his investigation of the postings, Mr. Love interviewed Dr. Finkenthal, Plaintiff, Nakajima,

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       Gerwig, Hector Garcia Villa, another Physics and Engineering Professor, and Susan Snow, a

   2 professor in the Mathematics Department who was also Nakajima and Gerwig's union

   3 representative.

   4          56.      On November I, 2017, four months after Plaintiff reported the postings, Mr. Love

   5 issued a summary of his investigation. In the report, Mr. Love concluded that Nakajima and

   6 Gerwig were not credible and that their claimed unawareness of the postings was not plausible. Jn

   7 fact, Mr. Love concluded "clearly [Nakajima and Gerwig] were aware of these materials [and) had

   8 either displayed the items themselves or allowed and even encouraged others to do so." Mr. Love

   9 further concluded that Nakajima and Gerwig demonstrated a general attitude of indifference to

  l 0 following the rules of the District concerning the avoidance of sexual harassment, discrimination

  11   and maintaining a wholesome student academic environment." A copy of the report, without

  12 exhibits, is attached hereto as Exhibit A.

  13          57.      Mr. Love found Dr. Finkenthal and Plaintiff to be credible witnesses.

  14          58.      Notably, this was not the first time Nakajima and Gerwig were found to engage in

  15   discriminatory conduct. In 2009 (seven years before Plaintiff worked at the College), the United

  16   States Department of Education's OCR Office found that Nakajima and Gerwig failed to

  17 accommodate a student with a disability. Plaintiff is infonned and believes that instead of imposing

  18 any actual discipline for discriminating against a disabled student, the District required Nakajima

  19 and Gerwig to undergo sensitivity training. Plaintiff is also informed and believes that the District

  20 and prior administrators received other complaints about Nakajima and Gerwig but that no action

  21   was ever taken against them. Further, during the investigation of the illegal postings, Dr. Finkenthal
  22   infonned the investigator that shortly after the sensitivity training, also in 2009, Nakajima refused to

  23   accommodate a student who used a wheelchair and even told the student that he should just take
  24 vitamins and "take care" of himself.
  25          59.      On November 27, 2018, Dr. Nonnan e-mailed Plaintiff and specifically instructed
  26 Plaintiff to involve Dr. Finkenthal in the oversight of Nakajima and Gerwig and to have Dr.

  27 Finkenthal observe Nakajima and Gerwig so that he could substantiate any complaints. Dr. Norman

  28   further made it clear that the District would not place Nakajima and Gerwig on any type of leave,

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   1 even paid leave, so as to avoid doing anything that may "create liability and deviate from our goals

   2   and mission."

   3          60.      Dr. Norman's e-mail appeared to request that she wanted Plaintiff and Dr. Finkenthal

   4   to handle overseeing to Nakajima and Gerwig and made it clear that the Title IX office was afraid to

   5   take any action to protect students from Nakajima and Gerwig.

   6          61.      On December 4, 2017, Plaintiff met with Dr. Jack Khan, the Assistant

   7   Superintendent and Vice-President Instruction to discuss her job duties. In the meeting, Plaintiff

   8   discussed her overwhelming work load which included duties not normally performed by the Dean,

   9   and advised Dr. Khan that she was suffering from anxiety. Dr. Kahn assured Plaintiff that she was

  JO an "incredibly valuable member of the team" and that he was dedicated to providing her with his
  11   "complete support." Dr. Kahn also promised that they would meet again to review Plaintiffs

  12   schedule "and discuss strategies to help structure [her] workload better." Dr. Kahn further stated he

  13   "look[ed] forward to continuing" to work together. At no point did Dr. Kahn indicate that he

  14   believed Plaintiff had done anything that would place her job in danger. To the contrary, Dr. Kahn

  15   expressed his overall satisfaction with Plaintiffs work, confirmed that she was "incredibly

  16   valuable," and pledged to accommodate her medical condition.

  17          62.      On December 12, 2017, the District determined that Nakajima and Gerwig would

  18   only be placed on unpaid leave for one month even though they had a history of discriminatory

  19 conduct, were just found not only to have engaged in overtly racist and sexually harassing conduct

  20   but also were found to have lied about their sexist and racist conduct to the investigator. Dr.

  21   Kailikole is informed and believes that this grossly inadequate punishment was part of a pattern and

  22   practice by the District to cover up misconduct by Gerwig and Nakajima, even though it knew their

  23   continued presence in the classroom subjected students, student assistants and faculty to

  24   discriminatory and harassing conduct.

  25      E. The District Retaliates Against Plaintiff For Reporting Harasment And Discrimination

  26          And For Requesting An Accomodation For Her Disability.
  27          63.      On December 14, 2017, two days after Nakajima and Gerwig were essentially

  28   excused from punishment and barely a week after she disclosed her disability, Plaintiff was

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       suddenly placed on paid leave. Plaintiff was given no warning and was not given any specific

   2   reason for being placed on leave. In fact, she was escorted out of her office like a criminal, locked

   3 out of her e-mail account and, importantly, instructed not to return to campus or speak with anyone

   4   from the College. The only information Plaintiff was given was that she was purportedly under

   5 investigation for some unspecified "breach of confidential information." From that point forward,
   6 Plaintiff was completely cut-off from the College.

   7          64.     The District left Plaintiff on paid leave for 5 months without ever informing her of

   8 the specific nature of the charges against her. During the time Plaintiff was on paid leave, faculty

   9   members were falsely told that Plaintiff was on medical leave. Plaintiff could not do anything about

  10 the false information the District was disseminating about her because the District prohibited her

  11   from contacting anyone at the College.

  12          65.     In January 2018, Dr. Kailikole hired an attorney and throughout January and

  13   February of2018 made repeated attempts to obtain further information about why she was placed

  14 on leave. However, the District refused to provide any substantive information. The only thing the

  15   District would disclose to Dr. Kailikole was that the investigation originated in the Physics and

 16    Engineering Department. When provided with this information, Dr. Kailikole informed the District

  17 that she believed the decision to suddenly place her on leave and investigate her was in retaliation

  18   for reporting Nakajima and Gerwig's misconduct.

 19           66.     On February 27, 2018, the District decided to non-renew Plaintiff's contract. The

 20    District did not provide Plaintiff with any reason whatsoever for the decision not to renew her

 21    contract.

 22           67.     On February 28, 2018, the day after her contract was non-renewed without

 23    explanation, Plaintiff was interviewed by the District's investigator about, among other things, the

 24    incident where Nakajima and Gerwig used an airsoft gun in the classroom.

 25           68.     Plaintiff informed the investigator that Dr. Lisa Norman had asked about the airsoft

 26    gun incident during the investigation of the racially and sexually harassing conduct by Nakajima

 27    and Gerwig. Plaintiff also informed the investigator that she contacted Dr. Finkenthal with
 28    information about that incident to make sure it was not being used any more. Dr. Finkenthal said he

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       did not think a gun was being used and requested further information so he could check on it.

   2   Accordingly, on or about December 8, 2017, Plaintiff forwarded Dr. Finkenthal an e-mail about the

   3 airsoft gun incident. Plaintiff is informed and believes that Dr. Norman reviewed this e-mail as part

   4   ofa search of Dr. Kailikole's e-mails that was done without Dr. Kailikole's consent and as part of

   5 an effort by the District to look for information to discredit Dr. Kailikole after she reported

   6   Nakajima's and Gerwig's racist and harassing behavior.

   7             69.   Plaintiffs obvious, and only purpose, in forwarding the e-mail about the gun

   8   incident to Dr. Finkenthal was so that Dr. Finkenthal could confirm Nakajima and Gerwig were

   9   following Plaintiff's prior directive not to use the gun in the interest of student safety. Advising Dr.

  I0   Finkenthal of the prior incident with the airsoft gun was also consistent with the recommendation by

  11   Lisa Norman, the Assistant Superintendent/Vice President, Human Resources, that she involve Dr.

  12   Finkenthal in her oversight of Nakajima and Gerwig.

  13             70.   When the District's investigator interviewed Plaintiff, he asked her if she ever agreed

  14 with Dr. Finkenthal that he would provide information about the airsoft gun incident to any person.

  15   Plaintiff informed the investigator that she never had any agreement with Dr. Finkenthal to provide

  16 the information to anyone else. The investigator asked Plaintiff if Dr. Finkenthal ever indicated to

  17   her that he intended to provide the information about the airsoft gun incident to his wife or members

  18 of the District's governing Board or "anything like that." Plaintiff informed the investigator that Dr.

  19 Finkenthal never indicated to her that he planned to provide the information to anyone else.

  20             71.   On or about March 4, 2018, a faculty member sent Plaintiff an unsolicited text

  21   message informing Plaintiff that Dr. Kahn was telling faculty members that Plaintiff was not

  22   returning. Given that the investigator told her it would be several weeks before he completed his

  23   investigation and would issue his report, it was clear to Plaintiff that the District had already

 24    decided to terminate her and that it was simply using the investigator to manufacture a purported

  25   reason.

  26             72.   On May 2, 2018, nearly two months after it began telling faculty members that

  27   Plaintiff was not returning, Plaintiff received a letter informing that Dr. Kahn was recommending

 28    her termination.

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               73.     One of the reasons stated for Plaintiffs termination was the absurd and implausible

   2 conclusion by the District's investigator that Plaintiff did not forward Dr. Finkenthal the

   3   information about the gun incident for the logical, obvious and entirely proper purpose of advising

   4   the Chair of the Department of relevant information in connection with his oversight of two

   5 Professors who had just been found guilty of grossly improper racist and harassing conduct in the
   6   classroom. Instead, the investigator claims, Plaintiff was actually part of a conspiracy to leak

   7 confidential information outside the College. According to the investigator's report, the full extent

   8 of the alleged conspiracy was that Plaintiff would forward the e-mail to Dr. Finkenthal, who would

   9   then forward the e-mail to his wife. The only "evidence" cited in support of this ridiculous

  I0   conclusion is that, three days after Plaintiff forwarded the e-mail about the gun incident to Dr.

  11   Finkenthal, Dr. Finkenthal forward the e-mail to his wife. Of course, Plaintiff had no idea that Dr.

  12   Finkenthal forwarded the e-mail to his wife or anyone else, and she certainly did not ask him to do

  13   it. Indeed, there is there a complete lack of evidence that Plaintiff was involved in any such

  14   "conspiracy." The very idea that Plaintiff conspired with Dr. Finkenthal to expose Nakajima's and

  15   Gerwig's misdeeds to Dr. Finkenthal's wife is nonsensical. Accordingly, Plaintiff is informed and

  16 believes that the alleged leak "conspiracy" was manufactured to try to cover up the true,

  17   discriminatory and retaliatory reasons for Plaintitrs termination.

  18          74.     Notably, the investigator's report does not list a specific person who made a

  19 complaint about Dr. Kailikole. Instead the report simply states that it was "internally generated at

  20   the request of Human Resources." Further, the investigator interviewed only two witnesses,

  21   Plaintiff and Dr. Finkenthal. He did not interview anyone from the Human Resources department

  22   even though someone in the department purportedly originated the complaint. The investigator also

  23   did not collect or review any documents related to the origins of the investigation.
  24           75.    In addition to the absurd allegation that she conspired to leak confidential

  25   information to Dr. Finkenthal's wife, the May 2, 2018 letter recommending Plaintitrs termination

  26   contains a list alleged of performance issues, none of which were ever presented to Plaintiff as

  27   potential reasons for any type of discipline, let alone termination.
  28

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               76.     To add insult to injury, as an additional purported reason for the termination, the

   2 District stated Plaintiff purportedly failed to appropriately monitor Nakajima and Gerwig. This

   3 reason is false and pretextual on its face, given that Plaintiff was the first Dean to actually risk

   4   exercising any supervision over Nakajima and Gerwig, including reporting their overtly racist and

   5   sexually harassing conduct to the District only to see the District willfully fail to take any real

   6 action. Plaintiff is informed and believes that the District was angered and embarrassed by

   7 Plaintiff's reporting of the harassing conduct by Nakajima and Gerwig because it required the

   8 District to take action against tenured professors which risked raising suspicions and questions by

   9 students and faculty if they were punished appropriately, such as by termination or placement on an

  I 0 extensive leave. Plaintiff is further informed and believed that the District wanted to punish

  11   Plaintiff for asserting her rights by suggesting that the investigation was illegitimate and retaliatory.

  12           77.    On June 13, 2018, the District terminated Plaintiff's employment.
  13           78.    The District's decisions to place Plaintiff on paid leave, non-renew her contract and

  14 terminate her were all clearly made to retaliate against her for complaining about Nakajima's and

  15 Gerwig's illegal conduct, which it quickly swept under the rug by issuing a disproportionately light

  16 penalty they served over winter break, for reporting that the purported investigation of the

  17 "confidentiality" issue was pretextual and retaliatory, and to retaliate and discriminate against

  18   Plaintiff for, and to avoid accommodating, Plaintiff's mental health condition. Indeed, until the

  19   District was forced to deal with Plaintiff's disability and her complaint about Nakajima and

  20 Gerwig's conduct and the investigation, she was never given any indication that her job- to which
  21   she had recently been promoted - was in any danger whatsoever.
  22          79.     Prior to being suddenly placed on leave, Plaintiff had a reputation at the College as a
  23   strong leader, an advocate for students, a talented fundraiser, and, above all, an educator dedicated

  24   to the College's mission. Plaintiff was completely humiliated by her sudden removal from campus,

  25   the non-renewal of her contract and being subjected to a sham investigation and termination over

  26 allegations manufactured by the District to punish her for raising the embarrassing issue of racism

  27 and sexual harassment in the classroom and to discriminate against Plaintiff for, and to avoid
  28   accommodating, Plaintiff's mental health condition. As a result of this illegal conduct by the

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   I   District, Plaintiff has suffered lost back wages and benefits, lost future earnings and benefits, lost

   2   promotions, extreme amounts of emotional distress and other damages.

   3                                       FIRST CAUSE OF ACTION

   4                                Retaliation in Violation of20 U.S.C. § 1681

   5                              (Against the District and DOES I through 20).

   6           80.     Plaintiff incorporates by reference each and every paragraph in the Complaint as if

   7   set forth fully herein.

   8           81.     The District is an educational program receiving Federal financial assistance and is

   9 subject to the provisions of Title IX of the Education Amendments of 1972, as amended, 20 U.S.C.
  I0   Section 1681 et seq. (hereinafter "Title IX").

  11           82.      Title IX provides that "[n]o person in the United States shall, on the basis of sex, be

  12   excluded from participation in, be denied the benefits of, or be subjected to discrimination under

  13   any education program or activity receiving Federal financial assistance." 20 U.S.C. § 6181(a).

  14   Title IX also prohibits retaliatory employment actions based on an employee's complaints about sex

  15   discrimination. Jackson v. Birmingham, 544 U.S. 167 (2005).

  16           83.     Plaintiff engaged in statutorily protected activity under Title IX when she reported

  17   sex discrimination by Nakajima and Gerwig to the District and participated in the investigation

  18   thereof and when she reported her belief that she was placed on leave in retaliation for reporting sex

  19   discrimination by Nakajima and Gerwig.

  20           84.     As a direct and proximate cause of Plaintiff engaging the protected activity under

  21   Title IX, Defendants engaged in adverse employment actions against Plaintiff, including placing her

  22   on paid leave, non-renewing her contract and terminating her employment.

  23           85.     There is a causal link between Plaintiff participating in a statutorily protected activity

  24   under Title IX and Defendants' adverse employment actions against her.

  25           86.     Defendants' violations of Title IX have proximately caused Plaintiff to suffer

  26   damages including, but not limited to, back wages, future wages, lost benefits, severe emotional

  27   distress and other pecuniary and non-pecuniary losses in an amount to be proven at trial.

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               87.     The actions of Defendants complained of herein were taken with malice, oppression

   2 and fraud, in conscious disregard of Plaintiff's rights, and with the malicious intent of injuring

   3 Plaintiff, who is therefore entitled to punitive or exemplary damages according to proof at trial.

   4           88.     As a result of Defendants' conduct, Plaintiff is also entitled to attorneys' fees and

   5 costs as provided by 42 U.S.C. section 1988 or other applicable law.

   6                                     SECOND CAUSE OF ACTION

   7                             Retaliation in Violation of 42 U.S.C. 2000d et seq.

   8                                   (Against the District and DOES 1-20)

   9           89.     Plaintiff incorporates by reference each and every paragraph in this Complaint as if

  I0   set forth fully herein.

  1I           90.     Title VI of the Civil Rights Act of 1964 (42 U.S.C. 2000d et seq.) ("Title VI")

  12   prohibits discrimination on the basis ofrace, color, or national origin in programs or activities

  13   receiving federal financial assistance. The District receives federal financial assistance and is

  14 subject to Title VI. As with Title IX and other federal discrimination statutes, there is an implied

  15   right of action for retaliatory employment actions based on an employee's complaints about race

  16 discrimination.

  17           91.     Plaintiff engaged in statutorily protected activity under Title VI when she reported

  18   race and national origin discrimination by Nakajima and Gerwig to the District and participated in

  19 the investigation thereof and when she reported her belief that she was placed on leave in retaliation

  20   for reporting race and national origin discrimination by Nakajima and Gerwig.

  21           92.     As a direct and proximate cause of Plaintiff engaging the protected activity under

  22   Title VI, Defendants engaged in adverse employment actions against Plaintiff, including placing her

  23   on paid leave, non-renewing her contract and terminating her employment.
  24           93.     There is a causal link between Plaintiff participating in a statutorily protected activity
  25   under Title VJ and Defendants' adverse employment actions against her.
  26           94.     Defendants' violations of Title VI have proximately caused Plaintiff to suffer

  27   damages including, but not limited to, back wages, future wages, lost benefits, severe emotional

  28   distress and other pecuniary and non-pecuniary losses in an amount to be proven at trial.

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   1           95.      The actions of Defendants complained of herein were taken with malice, oppression

   2 and fraud, in conscious disregard of Plaintiffs rights, and with the malicious intent of injuring

   3 Plaintiff, who is therefore entitled to punitive or exemplary damages according to proof at trial.

   4           96.      The actions of Defendants complained of herein were taken with malice, oppression

   5 and fraud, in conscious disregard of Plaintiffs rights, and with the malicious intent of injuring

   6   Plaintiff, who is therefore entitled to punitive or exemplary damages according to proof at trial.

   7           97.      As a result of Defendants' conduct, Plaintiff is also entitled to attorneys' fees and

   8 costs as provided by 42 U.S.C. section 1988 or other applicable law.

   9                                       THIRD CAUSE OF ACTION

  10                         Retaliation in Violation of Government Code § 12940(h)

  11                                   (Against the District and DOES 1-20)

  12           98.      Plaintiff incorporates by reference each and every paragraph in this First Amended

  13   Complaint as if set forth fully herein.

  14           99.      At all times relevant herein, Government Code section 12940 et seq. was in full force

  15   and effect and binding upon each of Defendants. Section l 2940(h) prohibits retaliation against any

  16 person who makes a complaint for harassment and/or discrimination on the basis of race, sex and/or

  17   national origin. Plaintiff is informed and believes that students, student assistants employed by the

  18   District and faculty who were members of a protected class, including females, latinos and other

  19 minority groups, were subjected to the harassing and discriminatory postings by Nakajima and

  20   Gerwig.

  21           100.     Plaintiff was terminated for complaining about the discriminatory and harassing

  22   conduct alleged herein which she reasonably believed to constitute discrimination and/or

  23   harassment on the basis of race, national origin, sex and/or gender and for reporting her belief that

  24   she was placed on leave in retaliation for reporting discriminatory and harassing conduct.
  25           I 0I .   As a proximate result of Defendants' violation of Government Code section
  26   12940(h), Plaintiff has suffered the loss of wages, salary, benefits and additional monies Plaintiff

  27 would have received if she was not terminated in violation of Government Code section l 2940(h},

  28   including future earnings. As a further proximate result of the violation of Government Code

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       section 12940(h), Plaintiff has suffered, and will continue to suffer, humiliation, mental anguish,

   2 and emotional and physical duress. As a result of such violation of Government Code section

   3   12940(h) and consequent harm, Plaintiff suffered damages in an amount according to proof at trial.

  4            102.    The actions of Defendant's complained of herein were taken with malice, oppression

   5 and fraud, in conscious disregard of Plaintiff's rights, and with the malicious intent of injuring

   6 Plaintiff, who is therefore entitled to punitive or exemplary damages according to proof at trial.

   7           103.    As a result of Defendants' conduct, Plaintiff is also entitled to attorneys' fees and

   8 costs as provided by Government Code section 12965(b).

   9                                     FOURTH CAUSE OF ACTION

  10             Disability Discrimination in Violation of Government Code section 12940(a)

  11                                   (Against the District and DOES 1-20)

  12           l 04.   Plaintiff re-alleges and incorporates by reference each and every allegation set forth

  13   in the preceding paragraphs of the Complaint.

  14           105.    Under the Fair Employment and Housing Act ("FEHA") codified in Government

  15   Code§ 12940 et seq., it is unlawful for an employer to discriminate against an employee on the

  16   basis of the employee's disability and/or perceived disability.

  17           I 06.   As a result of her disability, including anxiety, Plaintiff is a disabled individual under

  18   FEHA in that major life activities are limited. Defendants knew that Plaintiff was disabled because

  19 she told Jack Khan that she suffered from anxiety and he pledged to support her with that issue.

 20            107.    Defendants engaged in unlawful employment practices in violation ofFEHA by,

 21    among other things, failing to accommodate Plaintiff on the basis of her disability, failing to engage
 22    in the interactive process, retaliating against her for disclosing her disability, placing her on paid
 23    leave, stripping her of her duties, non-renewing her contract and terminating her.

 24            I 08.   Plaintiff is informed and believes and based thereon alleges that her disability was a

 25    motivating factor in Defendants' decision to place her on paid leave and strip her of her duties, non-
 26 renew her contract and terminate her.

 27

 28

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               109.    Defendants' violations ofFEHA have proximately caused Plaintiff to suffer

   2 damages including, but not limited to, back wages, future wages, lost benefits, severe emotiona~

   3 distress and other pecuniary and non-pecuniary losses in an amount to be proven at trial.

   4           110.   The actions of Defendants complained of herein were taken with malice, oppression

   5   and fraud, in conscious disregard of Plaintiff's rights, and with the malicious intent of injuring

   6   Plaintiff, who is therefore entitled to punitive or exemplary damages according to proof at trial.

   7           111.   As a result of Defendants' conduct, Plaintiff is also entitled to attorneys' fees and

   8 costs as provided by Government Code section I 296S(b) or other applicable law.

   9                                      FIFTH CAUSE OF ACTION

  I0       Failure to Accommodate Disability and Retaliation in Violation of Government Code §

  11                                                  12940(m)
  12                                  (Against the District and DOES 1-20)
  13           112.   Plaintiff incorporates by reference each and every paragraph in this First Amended

  14 Complaint as if set forth fully herein.
  15           113.   Government Code section 12940(m) provides that it is unlawful for an employer to

  16 fail to make reasonable accommodations for the known physical disability and/or perceived

  17 disability of an employee, or to retaliate or discriminate against an employee for requesting a

  18   reasonable accommodation.

  19           114.   Defendants failed to make a reasonable accommodation for Plaintiff's known

  20 disability and/or perceived disability and retaliated and discriminated against Plaintiff for requesting

  21   a reasonable accommodation.

  22           115.   Defendants' failure to provide a reasonable accommodation, and retaliation and
  23   discrimination against her for requesting a reasonable accommodation. proximately caused Plaintiff

  24 to suffer damages including, but not limited to, back wages, future wages, lost benefits, severe
  25   emotional distress and other pecuniary and non-pecuniary losses in an amount to be proven at trial.

  26           116.   The actions of Defendants complained of herein were taken with malice, oppression
  27 and fraud, in conscious disregard of Plaintiff's rights, and with the malicious intent of injuring

  28   Plaintiff, who is therefore entitled to punitive or exemplary damages according to proof at trial.

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                117.    As a result of Defendants' conduct, Plaintiff is also entitled to attorneys' fees and

   2    costs as provided by Government Code section l 2965(b) or other applicable law.

    3                                       SIXTH CAUSE OF ACTION

   4         Failure to Engage in the Interactive Process in Violation of Government Code section

   5                                                    12940(n)

   6                                   (Against the District and DOES 1-20)

    7           118.    Plaintiff incorporates by reference each and every paragraph in this Complaint as if

    8   set forth fully herein.

    9           119.    Government Code section I2940(n) provides that it is unlawful for an employer to

  IO    fail to engage in a timely, good faith, interactive process with a disabled employee to determine

   11   effective reasonable accommodations, if any.

  12            120.    Defendants failed to engage in the interactive process with Plaintiff in order to

  13    accommodate Plaintiff's disability and/or perceived disability.

  14            121.    Defendants' failure to engage in the interactive process proximately caused Plaintiff

  15    to suffer damages including, but not limited to, back wages, future wages, lost benefits, severe

  16 emotional distress and other pecuniary and non-pecuniary losses in an amount to be proven at trial.

  17            122.    The actions of Defendants complained of herein were taken with malice, oppression

  18    and fraud, in conscious disregard of Plaintiffs rights, and with the malicious intent of injuring

  19    Plaintiff, who is therefore entitled to punitive or exemplary damages according to proof at trial.

  20            123.    As a result of Defendants' conduct, Plaintiff is also entitled to attorneys' fees and

  21    costs as provided by Government Code section l 2965(b) or other applicable law.

  22                                      SEVENTH CAUSE OF ACTION

  23                              Retaliation In Violation Of Labor Code§ 1102.5

  24                                    (Against the District and DOES 1-20)

  25            124.    Plaintiff incorporates by reference each and every paragraph in this Complaint as if

  26    set forth fully herein.

  27            125.    Title IX provides that "[n]o person in the United States shall, on the basis of sex, be

  28    excluded from participation in, be denied the benefits of, or be subjected to discrimination under

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       any education program or activity receiving Federal financial assistance." 20 U.S.C. § 6 I 8 I (a).

   2 Title IX also prohibits retaliatory employment actions based on an employee's complaints about sex

   3 discrimination. Jackson v. Birmingham, 544 U.S. l 67 (2005).

   4           126.    Title VI prohibits discrimination on the basis of race, color, or national origin in

   5 programs or activities receiving federal financial assistance.

   6           127.    Section 12940(h) prohibits retaliation against any person who makes a complaint for

   7 harassment and/or discrimination on the basis of race, sex and/or national origin and Section

   8   12940(m) prohibits retaliation for requesting a reasonable accommodation for a disability.

   9           128.    It is the public policy of the State of California to prevent discrimination on the basis

  I0   of sex, race and national origin and to prevent retaliation against persons who report retaliation.
  II           I 29.   Under Labor Code section I I 02.5, employers and individuals are prohibited from

  I2   retaliating against an employee for:

  13           disclosing information ... to a person with authority over the employee or another employee

  14 who has the authority to investigate, discover, or correct the violation or noncompliance ... if the

  15   employee has reasonable cause to believe that the information discloses a violation of state or

  16 federal statute, or a violation of or noncompliance with a local, state, or federal rule or regulation.

  I7           130.    The District's termination of Plaintiff violated Labor Code section ! I 02.5 because it

  18 was in retaliation for Plaintiffs reporting the illegal conduct by Nakajima and Gerwig alleged

  19 herein.

  20           131.    As a proximate result of Defendants' violation of Labor Code section 1102.5,

  21   Plaintiff has suffered the loss of wages, salary, benefits and additional monies Plaintiff would have

  22 received if she was not terminated in violation of Labor Code section I! 02.5, including future

  23   earnings. As a further proximate result of the violation of Labor Code section 1102.5, Plaintiff has
  24   suffered, and will continue to suffer, humiliation, mental anguish, and emotional and physical

  25   duress. As a result of such violation of Labor Code section I I 02 .5 and consequent harm, Plaintiff
  26 has suffered damages in an amount according to proof at trial.
  27

  28

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                                                     COMPLAINT
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               132.    The actions of Defendant complained of herein were taken with malice, oppression

   2    and fraud, in conscious disregard of Plaintiffs rights, and with the malicious intent of injuring

   3    Plaintiff, who is therefore entitled to punitive or exemplary damages according to proof at trial.

   4       EXHAUSTION OF ADMINISTRATIVE REMEDIES UNDER GOVERNMENT CODE

   5                                              SECTION 1265(b)

   6                   Plaintiff has exhausted her administrative remedies under Government Code section

   7    12965(b). A copy of Plaintiffs Complaint with, and Right to Sue Letter from, the DFEH is

   8    attached hereto as Exhibit B.

   9                                      DEMAND FOR JURY TRIAL

  JO                   Plaintiff hereby requests a trial by jury.

  11                                          PRAYER FOR RELIEF

  12           Plaintiff prays for judgment against Defendants as follows;

  1.3          I.      For general and special damages;

  14           2.      For backpay and front pay;

  15           3.      For emotional distress and pain and suffering damages.

  16           4.      For nominal and compensable damages;

  17           5.      For punitive damages;

  18           6.      For pre-judgment and post-judgment interest where allowable;

  19           7.      For an injunction and declaratory relief where applicable;

  20           8.      For costs of suit and expenses;

  21           9.      For reasonable attorneys' fees; and

  22           I 0.    For such other and further relief as this Court may deem just and proper.

  23    Respectfully submitted,

  24
  25    Dated:Novembert0,2018                                        DWIN LEGAL, APC

  26

  27
                                                                        C--z__      c----
                                                                     Attorneys for Plaintiff KATHRYN
  28                                                                 KAILIKOLE


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                                                      COMPLAINT
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                          EXHIBIT A
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                                     Confidential Summary of Investigation Report
                                            Complaint of Unlawful Discrimination
                                Dan lei Finkenthal on Behalf of Anonymous Complainant vs.
                          Arthur Gerwig, Takashl Nakajima, and Hector Garcia Villa, Respondents
                                                     November 1, 2017


 PURPOSE OF INVESTIGATION.

 This matter relates to an administrative investigation undertaken for Palomar Community District (District). This matter
 related to investigating material that was deemed objectionable which had been displayed on walls, doors and over doors
 in Iha Physics and Engineering Department at the District's main campus. Daniel Finkenlhal (Dr. Finkenlhal), the newly
 appointed Department Chair, had broughl forward the complaint on behalf of an anonymous sludent, when he assumed
 his leadership rote and claimed that the material was objectionable, discriminatory and inappropriate to be displayed or
 posted on District property.

 The soope of this investigation was to determine whether certain District employees allowed and/or were aware that the
 objectionable material was displayed in the Physics and Engineering Department In certain areas, visible to both other
 employees, as well as students. Specifically, Professors Arthur Gerwig (Mr. Gerwig), Takashi Nakajima (Mr. Nakajima)
 and Hector Garcia Villa (Mr. Garcia Vllia) were observed to teach in the department in the general area of these materials.
 The materials Involved included pictures, images, wording and other aems that were seen as patently offensive,
 discriminatory In content and nature and generally lnappr:>priate for a District environment. .~dded to this, Dr. F:nkenthal
 alleged that Mr. Gerwig and Mr. Nakajima had utilized a syllabus and other material that was inappropriate, threatening in
 nature and inconsistent with the department's philosophy and goals.


 BACKGROUND AND METHODOLOGY OF INVESTIGATION.

 This matter began in May 2017 after Dr. Finkenthal was appoinled the Chair of the Physics and Engineering Department.
 Previously, Mr. Nakajima had been Iha Department Chair for several years. Dr. Finkenthai conlacted his dean, Kathryn
 Kaiiikole(Or. KaUikole}, who serves as the Dean, Mathematics and the Natural and Health Sciences, to report that a
 student had oontacted him with concerns regarding various types of posters and other materials that were posted
 conspicuously on the wails and doors of rooms NS-249 and NS-252. Dr. Finkenthal showed Dr. Kailikote the various
 materials and Indicated that he did not want to disclose the name of the student for fear that the student would be subject
 to some form of retaliation.

 On May 31, 2017, Dr. Kailikole reported to Shawna Cohen (Ms. Cohen), Manager. Equal Employment Opportunity and
 CompUance and the Districfs Deputy Tille IX Coordinator. that she had received the report from Dr. Finkenthai regarding
 the offensive postings in the two rooms. The following day, on June 1, 2017, a group of District admlnislrators visited NS-
 249 and NS-252 to view the areas. The officials determined that a number of postings had been placed on the walls and
 other surfaces that violated federal, state, and District nondiscrimination reguiallons, Including Tnle IX. The officials look
 pictures of the offending items and removed them from the rooms, retaining them for future reference.

 Jack Kahn, Assistant SuperlntendenWice President, Instruction (Dr. Kahn), Dr. Kaillkole, and Ms. Cohen met with Or.
 Finkenthal, Mr. Garcia Villa, Mr. Gerwig, Mr. Nakajima, and Susan Snow (Ms. Snow), Palomar Faculty Federation
 Grievance Officer, on June 11, 2017 for purposes of determining whether the Physics and Engineering faculty had prior
 knowledge of the postings. During the meeting, Ms. Cohen distributed the postings to the parties and asked whether the
 faculty had seen them before. Dr. Flnkenthal stated that he saw the items after the anonymous student had pointed them
 out to him; the other three faculty stated that they had never seen the postings before. Mr. Garcia Villa, Mr. Geiwig, and
 Mr. Nakajima all indicated lhat they occasionally used the two rooms, whereas Or. Finkenthal stated that he never used
 them.

 On June 28, 2017, Adrian Gonzales, Assistant SuperintendenWice President, Student Services and the District's Tale IX
 Coordinator. notified Ms. Cohen that an Investigation into the oomplaint was necessary. Dr. Finkenthal met with Ms.
 Cohen on June 29, 2017 to present additional information relevant to the investigalion. The District retained an
 Independent Investigator and attorney, Jeffrey Love (fact finder), to oonduct the Investigation. Mr. Love commenced the
 investigation on July 11, 2017. The investigation Involved the review of documents, Including evidence and applicable
 District rules and regulations, as well ;1s conducting interviews of District employees. Once factual evidence was
 developed, the various statements of the interviewees were compared and contrasted with one another as well as other
 evidence and determlnattons of credlblllty were established. Once credibility wes established along with a factual
 framework of the alleged events, oonciusions were formed based on the greater weight of the credible evidence. For the
 purpose of findings, direct and circumstantial evidence may be given equal weight.



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  SCOPE OF THE INVESTIGATION.

  The scope of this investigation was to determine:

  A. Did District employees allow and/or condone objectionable and/or discriminatory material to be displayed on
     District property in violation of Olstrict rules?


  SOURCE OF THE COMPLAINT.

  A. Daniel Finkenthal, Ph.D. (acting on behalf of an anonymous student)
           Professor/Department Chair
           Physics and Engineering
           Palomar Community College District


  ACCUSED/FOCUS EMPLOYEES.

  A. Hector Garcia Villa
           Assistant Professor
           Physics and Engineering
           Palomar Community College District

  B. Arthur Gerwig
      Associate Professor
         Physics and Engineering
         Palomar Community College District

  C. Takashi Nakajima
           Professor
           Physics and Engineering
           Palomar Community College District


  WITNESSES.

  A. Daniel Flnkenthal, Ph.D.
           Professor/Department Chair
           Physics and Engineering Department
           Palomar Community College District

  B. Kathryn Kalllkole, Ed.O.
           Dean
           Mathematics and the Nalural and Health Sciences Division
           Palomar Community College District

  C. Arthur Gerwig
        Associate Professor
         Physics and Engineering Department
        Palomar Community College District

  D. Takashl Nakajima
        Professor
        Physics and Engineering Department
        Palomar Community College District

  E. Hector Garcia Villa
        Assistant Professor
        Physics and Engineering Oeparlment
        Palomar Community College District

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  F. Susan Snow
        Professor
        Mathematics Department
        Palomar Community College District


  CREDIBILITY OF THE WITNESSES.

  The analysis of the credibility of the witnesses is an important aspect of a fact-finding investigation. As an accepted rule
  of evidence, a fact finder can disregard the statements of a witness who has been found to have provided false or
  unreliable information during their testimony in a matter. Those witnesses' stetements can ba disregarded In their entire!~
  and not believed unless there is compelling evidence to conclude that individual statements otherwise are true.'
  Concerning the witnesses' statements. this fact finder considered:

  a) The witness· demeanor while providing a statement and the manner in which he/she provided the statement.
  b) The character of the witness' statement.
  c) The extent of the witness' capacity              to perceive,   to recollec~ or to communicate any matter about which he/she gave a
     statement.
 . d) The extent of the witness' opportunity to perceive any matter about which he/she gave a statement.
  e) The witness' character for honesty or veracity or their opposites.
  f)     The existence or nonexistence of a ~ias, Interest. or other motive.
  g) A statement previously made by the witness that is consistent with his/her statement during the fact-finding
     investigation.
  h) A statement made by the witness that is inconsistent with any part of his/her statement during the fact-finding
     investigation.
  i)     The existence or nonexistence of any fact given in statement by the witness.
  j)     The witness' attitude toward the fact-finding Investigation in which he/she gave a statement or toward the giving of a
         statement.

                                                          Discussion of Witness Credibilitv.

  Witness Daniel Finkenthal, Ph.D.
  Dr. Finkenthal appeared to be a credible witness in this matter. Dr. Finkenthal is the current Chair of the Physics and
  Engineering Department of the District Dr. Finkenthal came forward after he had been elevated to his current position in
  order to make his complaint concerning the display of what he considered objectionable material in or about the Physics
  Department. Dr. Flnkenthal was deemed credible due to the fact that his statements lo this fact finder tended to be
  corroborated by the physical evidence located in the area of the Physics Department, as well as the statements of other
  credible witnesses.

  Kathryn Kalllkole, Ed.D.
  Dr. Kailikole appeared to be a credible witness In this investigation. Dr. Kallikole said that she observed the offensive
  materials and further noted that Mr. Gelwig and Mr. Nakajima had specifically denied knowledge of the materials that
  were displayed in areas that they were known to frequent on a dally basis. Dr. Kailikoie also noted that she believed both
  Mr. Gerwig and Mr. Nakajima had been insubordinate concerning the publication and use of certain inappropriate policy
  and rules statements. syllabi and a student warning letter.

  Witness Arthur Gerwig
  Mr. Gerwig did not appear to be a credible witness in this matter. Mr. Gerwig has been a long-term faculty member in the
  Physics and Engineering Department, and seemed to be unaware that materials had been displayed on various walls in


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  the area In which he has worked nearly on a daily basis. It appeared to the fact finder thal Mr. Gerwig's statements were
  implausible, in that he would have observed these malerials having worked In that area.

  Witness Takashi Nakajima
  Mr. Nakajima also appeared to lack credibility in his statements to the fact finder. Many of the objectionable materials that
  were observed and removed from the Physics and Engineering Department were displayed on the doors and in the room
  associated with areas that Mr. Nakajima used on a dally basis. Mr. Nakajlma's statement thal he was unaware of many of
  lhese materials was implausible and ln~nsistent with rational reason and logic.

  Witness Hector Garcia Villa
  Mr. Garcia Villa appeared to be a credible witness In this matter. Mr. Garcia Villa is a relatively new Assistant Professor to
  the department. Mr. Garcia Villa said that he was aware of some of the materials that had been displayed In the area,
  however, he was uncertain as to the ownership or who had authored these items. Mr. Garcia Villa was deemed credible,
  as he was relatively new to the department, did not typically use the rooms where the associated objectionable materials
  were located and appeared earnest and truthful in his statements.

  Witness Susan Snow
  Ms. Snow did not appear to be a credible witness in this matter. Ms. Snow appeared as a witness; however, she was little
  more than a thinly-veiled advocate for Mr. Gerwig and Mr. Nakajima. Ms. Snow had represented both Mr. Gerwig and
  Mr. Nakajima at their interviews as their union representative as part of the Palomar Faculty Federation. Ms. Snow
  daimed that she was a witness in this matter, as she had observed an item that had been hung over a door in one of the
  offices in the Physics and Engineering Department. Ms. Snow knew early on, and prior to her representation of
  Mr. Nakajima and Mr. Gerwig, that she would therefore be a witness In this matter, yet she sat through and participated in
  the~ interviews, as a representative. Ms. Snow appeared to be biased and motivated to advocate for her association
  members, and was seen as a witness who lacked credibility.


  FINDINGS.

  A. Did District employees allow and/or condone ob)ectlonabte and/or discriminatory material to be displayed on
     District property In violation of District rules?

      Short Answer: YES

                                                                   Discussion

  Background.

  Dr. Flnkenthal indicated to the fact finder that he believes Inappropriate behavior relevant to Iha allegations had taken
  place in the Pl1y&ieli and E119ineerlng Department under the chairmanship of Mr. Nakajima for a number of years.

  The facts further demonstrate that In 2009, a student with certain disabilities had filed a complaint with the Department of
  Education, Office of Civil Rights regarding discrimination by the Physics and Engineerlng faculty. The Office of Civil
  Rights had upheld the student's complaint and Dr. Flnkenthal provided a copy of these relevant documents to the fact
  finder. Dr. Flnkenthal also provided the fact finder with emaas he had received that are purported to be between
  Mr. Nakajima and a student that had occurred on or about August 24, 2009.

  Dr. Flnkenthal pointed out that these emails display that Mr. Nakajima had violated the Americans with Disabilities Act
  (ADA) and refused to make a reasonable accommodation to the student who filed the complaint. Dr. Finkenthal noted
  that this exchange occurred only four months after the Office of Civil Rights (OCR) had published their report concerning
  the previous violation of the ADA.

  Materials Found Displayed In Rooms NS·249 and NS-252.

  As part of the scope of this Investigation, a number of items that were located in the areas surrounding rooms NS-252 and
  NS-249 in the Physics and Engineering area of the NS Building were documented In place, and removed. This fact
  finde(s Charge was to lnvesttgate whether these Items ware placed by any District staff or whether any District staff



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  members had allowed the placement of these materials, or were aware of their presence. The various Items are identified
  by item number as detailed below.

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                                                                                                                                                "'.rf.l,". ;::d.';:· ,!,::· ~;,;.;;.,   . ·•. ..: •:. ~ ;·;J1: :,;:,,~
   1               "Safe Soace ... NoUll"                                               Hallwav                   Above door Into NS-252
   2               "Carbon Resistors" (mnemonic device)                                 NS-249                    Door exiting into hallway
   3               "Vogue May Ed!Uon"                                                   NS-249                    File cabinet
                   "2017 you know you )uant me"f'Hello
   4                                                                                    NS-249                    Door leading Into NS-252
                   Ladies''
   5               "Dick riot her like"                                                NS-249                    Inside of door
   6               "Peek a Boo"f'Jen's Heioht in influence"                            NS-249                    Coverina of window of door to hallway
   7               ''TURN THIS SHIT OFF"                                               NS-252                    Taped to coffee pot
   B               "Do not leave vour shit in the sink."                               NS-252                    Above sink
   9               "Stoa Makinn Fucklna Tea In the Kettle!"                            NS-252                    Above coffee aoVsink area
   10              "In class what he tauaht us ... • !cartoonl                         NS-252                    Inside of door
   11              "Resistance Is FUTILE!"                                             NS-252                    Inside of door
   12              Man with discus                                                     NS-252                    Above microwave
   13              Fluke Mult~Meter                                                    NS-252                    Inside of door

  a) Issues of Sexual and/or Gender, Racial, National Origin Harassment/Discrimination Relevant to Above Items

  Several of these items ooncemed issues of either sexual and/or gender harassment and discrimination. For instance,
  !!em No. 2 was a document that was posted on the door exiting into the hallway from Room NS-249. This item which was
  titted "Carbon Resisters" provided a mnemonic in order to allow students to memorize the names of the various colors of
  the bans on resisters. Mnemonics are often aides to the memory and serve students and others to recall specific details
  with greater ease.

  On this item, the mnemonic contained a negative, violent and racial reference to African American males raping women.
  The mnemonic stated. "Black Boys Rape Our Young Girls But Violet Gives Wdlingly Get Some Now." Additionally, it also
  makes an objecUfled reference to a woman (Violet) who is purported to be promiscuous. These sorts of comments touch
  on and concern issues of racial. sexual and/or gender harassment and discrimination.

  Item No. 3 which was tilled the "Vogue May Edition" portrayed a student lying across the hood or a pickup truck holding a
  paper where a large phallic symbol was drawn upon ii. This Item also displays an issue of sexual or gender discrimination
  by portraying a male penis in a drawing in an enlarged and gratuitous characterization. This item was posted on the flle
  caqlnet In Room NS-249.

  Item No. 4, Identified as "2017 You Know You Want Juant Me" portrayed a male adult studenl who appeared to be Latino
  In race. The document Indicates lhat women might have some form of sexual desire for the individual portrayed in the
  document This Individual was identified as a student and the term want "juant" was a joking reference lo the individual's
  true name, Juan. The document indicatps "Hello Ladies" in an apparent joking invitation to women who might want to
  have some form of sexual contact with the lndlviduai portrayed therein.

  Item No. 5, another document located in NS-249 posted on the inside of the door shows a subject identified generally as a
  student in the Physics and Engineering Department staring at a large item that states "Dick got her like." There Is a hash
  tag remark below that states "#black cock slut.· This item was making reference to a penis and specifically the penis of
  an African American.

  Item No. 6 was essentially a covering of a window located in a door that leads lo the hallway from Room NS-249. This
  llem had the word "Peek-a-Boo" written on it as well as•Jen's height In influence." "Jen" was ldenUfied by an Interviewee
  as a former student assistant who was short In stature. This Item appears to have been posted in order to make light of
  ~Jen's" height as well as her particular influence as a student assistant. Both of these references can be seen as
  derogatory both towards the student oonceming her height, as well as her influence In the department as female stl.Jdent
  staff member.

  b) Issues of Profanity and/or lntlmldatlon/tnappropriate Behavior Relevant to Above Items

  Item No; 7 ~ a paper sign ta?ed to the coffee maker in the NS-252 laboratory classroom. This sign states "Turn this
  Shit Off. This s19n was Indicative of a seeming tolerance for profanity and/or intimidation In the department. In addition
                                                                                     -Pages-
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  to this, Item No. a was a sign posted above the sink In NS-252 that stated, "Do Not Leave Your Shn in the Sink.'' Again,
  this sign uses profanity and tends to demonstrate issues of profanity and/or intimidation In the department.

  Item No. 9 was a sign posted above the coffee pot and sink area In NS-252 that states, "Stop Making Fucking Tea in the
  Kettler' Once again, this sign makes reference to Issues of profanity and intimidation In the department. All of these signs
  posted in or about the coffee pot, kettle/sink area were both open to both staff members, as well as students.

  Finally, Item No. 13 was a memorandum written and posted by Mr. Nakajima that contains threatening language
  concerning expelling a student from D lstrlct and ruining their "life" over a missing Fluke multimeter. This item was left up
  long after the meter had been returned and/or located and was seen as another display in support of an intimidating
  academic environment.

  Additional Documents Relevant to this Fact Finding.


      A        Physics 2301231 Student "Cautionary Letter"
      B       Regulations and Rules for Physics 230 Lab
      C       Aunust 24, 2009 email exchanoe between Mr. Nakaiima and student
      D       Aoril 16, 2009 United Stales Deoartment of Education, OCR, Renion IX Letter to the District

  a) Syllabus, Physics Department PollcleslProcedures and Warning Matertals

  As part of the investigation, the fact finder was provided documents identified above as Document Items A and B. These
  items were seen as Inappropriate and Dr. Kailikole had instructed faculty to cease using these items In 2016. These items
  had been placed on a non-District website known as PCpepso.com, which had been created years ago by Mr. Gerwig and
  remains active to this day.

  Document Item A was tided To Physics 230/231 students from Physics 230 and 231 instructors. This item appears to be
  a portion of a syllabus for the Physics 230/231 courses. A review of this document demonstrates a rather harsh and
  threatening tone. Here, the document lends to threaten students who engage in certain behaviors such as ' ... studying
  only for an exam, trying to get a maximum score with a minimum effort. and dropping a course just before the deadline.•
  The document states •... we don't want to see those students in our classes anymore."

  The document goes on to make other negative and harsh comments making reference to students that are "lazy" or who
  "don't want to change your bad study habit." This document encourages such students to "give your seat to someone
  else who is more serious than you." Although it is laudable to encourage students to academic excellence and rigor, such
  commentary in a document seems inappropriate, threatening and demonstrates an unwelcoming commentary concerning
  these classes. Additionally, the second page of this document has an area that can seemingly be detached where a
  student was requested to print their name and sign and date the document agreeing to certain terms. These terms state:

           I (print your name) read the statements above. I am serious about my education and wHI follow the
           guidelines given above. I will be working my hardest to learn the subjects from today, and I will decide
           whether or not this class is for me within the flfSt 4 weeks. If I do not drop by the end of the fourth week, I
           wlll receiv& a course grade of whatever I deserve.

  This document requires a signature and slates " ... this sheet is to be turned in by Friday of the first week of a semester.
  Any student who failed to tum HIn will be dropped from the course."

  Here, It appears thet the student Is required to sign this document and the document tends to want to amend the official
  course drop policies by the District. The document directly states that if a student fails to agree with the terms of this
  document and sign In agreement, that thpy would be dropped from the course.

  In addHlon to this required signing aspect of the document, the document also details how students will be treated In
  class. In relevant part, the document states "... you'll be treated exactly the way you treat this class. If you want lo be
  treated nicely, treat this class and the professor nicely.•

  This document tends to demonstrate a threatening and inappropriate tone and required student& to sign a document that
  they were not legally bound to sign under pain and penalty of being dropped from the course.


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  Document Item B seems to be the Rules and Regulations for lhe Physics Lab 230. This documen~ like Document Item A,
  has a threatening tone and makes reference to '1azy" students and encourages other sludenls lo "kick out" those swdents
  that !hey deem 10 be "lazy." Essentially, this document gives authority fOr sludenls lo apply peer pressure in what
  appears lo be a rather capricious fashion in determining who they subjectively believe is being "lazy" and subjecting thal
  student to be forced out of the laboratory course.

  Ironically, the document stales in bold underlined print that lhe • .. .Instructor Is nol available lo answer any questions
  regarding the lab during lhe lab period." Agaln, the instruction states • .. .if anyone who Is not willing, capable, or lazy is In
  your group, kick that person out from your group." In a rather odd commentary, the document goes on to state • ... this
  sounds very cold, bul unless you don't mind losing your job because if that person does not do his/her parl, you have lo
  leam how to protect yourself."

  Essentially, the document and its authcirs, Mr. Gerwig and Mr. Nakajima, are encouraging slUdents to self-select other
  students from whom !hey differ and feel might not be operating or working to a particular standard. Essentially,
  Mr. Nakajima and Mr. Gerwig are allowing students to grade other students, something that Is only under the purview or
  Mr. Gerwig and Mr. Nakajima as faculty of the District. This document, like Documenl Item A, contains a threatening tone
  and gives other students seemingly unfettered authority to pressure and/or remove olher students from lhe course in what
  could only'be seen as an inappropriate delegation of professorial authority.

  Knowledge of the Materials.

  One of the issues In this fact-finding investigation was to determine whether any members of lhe faculty had knowledge of
  the materials that were posted. Although during a meeting on June 22, 2017, both Mr. Gerwig and Mr. Nakajima denied
  general knowledge of any of these materials, lhe facts in this matter demonstrate thal both of these faculty used lhe
  classrooms where these Items were openly and notoriously posted for all to see.

  Even though these two faculty denied particular knowledge during this meeting, and generally when interviewed by the
  fact finder, the greater weight of lhe credible evidence demonstrates !hat both Mr. Gerwig and Mr. Nakajima knew, or
  should have known, about the presence of these documents. Both faculty knew, or should have known, that these
  materials were patenUy offensive, inconsistent with the District's policy concerning sexual and/or racial discrimination and
  further Inconsistent with the academic goals of the District.

 The facts In this matter tend lo demonstrate that Mr. Garcia Villa, a newly appointed Assistant Professor, was generally
 unaware of these documenls, as he typically did not use the rooms where the documents were identified. It appeared lo
 this fact finder that these rooms were typically and nearly exclusively used by both Mr. Gerwig and Mr. Nakajima.

 In addition to the materials identified as posted on walls and doors in these areas, both Mr. Gerwig and Mr. Nakajima
 appeared to have been aware and/or even authored documents that were placed on an unauthorized non-District
 sponsored website known as "PCPepso." The facts in this matter demonstrate that PCPepso was set up by lhe
 deparfmenl and was loosely run by student assistants with knowledge of internet technology. This website contained
 documents that portend to be syllabi and recitations of the department's rules and regulations; however, these Items were
 seen as offensive, threatening, inappropriate, and Inconsistent with District policy and/or state and/or federal law.

 Concerning general knowledge of the materials located In rooms NS-249 and NS-252, the greater weight of the credible
 evidence demonstrates that bolh Mr. Gerwig and Mr. Nakajima were well aware of the materials that had been placed in
 this area. It appeared to this fact finder lhet there had been a general atlilUde of indifference to following the rules of the
 District concerning the avoidance of sexual harassment, discrimination and maintaining a wholesome student academic
 environment. It appeared that Mr. Gerwig and Mr. Nakajima routinely departed from established protocols and propriety.
 and had resisted changes by Dr. Kailikote.

 According to Dr. Flnkenthal, both Mr. Gerwig and Mr. Nakajima routinely, and continually, used rooms NS-249 and NS-
 252 and were often In that area. Even Mr. Gerwig stated that If he were looking for Mr. Nakajima, he would look in room
 NS-249. For Mr. Gerwig and Mr. Nakajima to claim that they were unaware of the Items that were openly and notoriously
 displayed !here requires a departure from reason, common sense and logic. Clearly, they were aware of these materials
 had either displayed the Items themselves or allowed and even encouraged others lo do so. These items wer~
 Inappropriate, displayed racial, gender and naUonal Identity dlscriminaUon and harassment, and supported an Intimidating
 and. unwelcoming academic environment. Dr. Finkenlhal accurately described these areas as displaying a "frat house"
 environment.



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  Palomar Community College District
  Summary of lnvestlgaUon Reporl: Anonymous Student v.s. Garcia ViHs, Gerwig, sntl NskBjlma

  Dr. Kaillkole told the fact finder that Mr. Gerwig and Mr. Nakajima had been insubordinate to her direction to remove the
  materials from the PCpepso website and to refrain from using the documents concerning their classes. Mr. Garcia Villa
  was aware of these directions and never used these materials, as directed by Dr. Kallikole. Even so, Mr. Nakajima and
  Mr. Gerwig continued to allow the PCpepso website to function, claiming they were unaware how to clos·e the link and
  disallow access.

  In summary, even though Mr. Gerwig and Mr. Nakajima deny knowledge of the aforementioned materials found in rooms
  NS-249 and NS-252, the greater weight of the credible evidence demonstrates that they were aware of the. materials,
  allowed and/or participated in their postings and display, and were untruthful concerning their assertions othel'WISe.

  Findings In Reference to Respondents.

  Mr. Garcia Vitia

  1. PCPepso Website Documents

  Mr. Garcia Villa said Iha! he was aware of the PCPepso website. Mr. Garcia Villa acknowledged that he had never used
  the documents contained on this unofficial website set up by Mr. Gerwig in the Physics and Engineering Department.
  Mr. Garcia Villa recalled that Dr. Kaillkole had admonished him, as well as Mr. Gerwig and Mr. Nakajima, not to use these
  documents. Mr. Garcia Villa Is a recently-hired Assistant Professor working full-time In the last year. It appeared to the
  fact finder that Mr. Garcia Villa abided by Dean Kallikole's direction and did not use these documents.

  2. Offensive Materials Jn Rooms NS-252 and NS.249

  The facts tend to demonsttate that Mr. Garcia Villa was a relatively new Professor in the Engineering and Physics
  Department. Mr. Garcia ViUa !aught classes, as wall as a Jab portion in support of his lecture courses. Mr. Garcia Villa
  Indicated that some of the materials that were identified as Items No. 1 through 13, above, were placed In the interior
  areas generally of Room NS-252 and NS-249. Mr. Garcia Villa said that he did not utilize Room NS-249 and was rarely in
  that area. Interestingly, Mr. Garcia Villa seemed more forthright concerning his observations than Mr. Gerwig and
  Mr. Nakajima, who are known to ulllize these rooms on a frequent basis. There was no information to conclude that
  Mr. Garcia Villa wes aware of the more offensive materials located in these rooms, nor that he participated and/or
  encouraged their display.

  3. Truthfulness

  This fact finder found that Mr. Garcia Villa was a credible witness In this matter. There was no credible evidence to
  conclude that Mr. Garcia Villa had been untruthful In his statements to this fact finder when questioned concerning the
  documents on the PCpepso website or the offensive material that was found to have been displayed In Rooms NS-252
  and NS-249.

  Mr. Gerwig and Mr. Nakajima

  1. PCPepso Website Documents

  The facts In this matter demonstrate that Mr. Gerwig had developed the PCpepso website. This website was an unofficial
  District website that certain members of the Physics and Engineering Department used to post materials, such as syllabi
  and various rules and regulations. Some of these materials, Identified as Document Items A and B, above were identified
  as being problematic and Inappropriate. The fact• demonstrate that in 2016, Dr. Kaillkole directed staff that these
  documents not be used due to !he inappropriate language and tone contained therein.

  Evan so, the&e documents remained on the website and were seemingly available to sludents even though there was
  insuff'<Clent credible evidence to show that students were purposely directed to this website after Dr. KaDlkole's direction
  not to do so. Mr. Gerwig was responsible for maintaining this website, but claimed that he was unable to access the
  web&~e to make any particular changes as this task had been assigned to previous students who acted as "webmasters."
  The facts demonstrated though that Mr. Gerwig made no real efforts in attempting to contact or take steps to remove the
  documents from the website after direction had been given to remove Document Items A and B from the website by
  Dean Kalllkole.

  Document Items A and B were documents that seemingly were created by Mr. Gerwig and Mr. Nakajima which, taken
  together, formed a syllabus for students for the Physics 230 and 231 class instruction. Both of these documents

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  contained harsh verbiage, referred to students as being lazy and essentially encouraged students to lake negative action
  against other students. For Instance, Document Item B states In relative part, "If a member Is not working or contributing
  for the group, I encourage you to kick out that student." Here, the document purports to allow and even encourage to take
  retribution on other students that they feel might not be "contributing" to a group effort. Clearly, this sort of peer pressure
  is Inappropriate, as the faculty member should decide as to whether a student is putting forth sufficient effort In a group
  environment. It appeared to this fact finder that Document Item B attempts to relegate the duties of a faculty member lo
  pear students concerning the performance of others.

  Additionally, both Document Items A and B make reference to the term "lazy." Whereas laziness Is not considered a
  laudable trait concerning academic performance, such language and negative characterizations seem inappropriate in a
  professional academic document suoh as these purport to be. It was clear to this fact finder that based on the greater
  weight of the credible evidence these documents were created in collaboration between Mr. Gerwig and Mr. Nakajima.
  Even though Mr. Nakajima attempted lo claim some predecessor had created Document Item B described as the
  Regulations and Rules for Physics 230 Lab the facts tend to demonstrate that this is not true. Mr. Gerwig seemed lo
  recall that he and Mr. Nakajima had crafted this document together, and the plain evidence in the document demonstrates
  that the only instructors referenced in the document were, in fact, Mr. Gerwig and Mr. Nakajima. There was no reference
  to any other faculty within this document.

  Both Document Items A and B tend to depart from the District's code of ethics. These items do not tend to encourage the
  free pursuit or learning In their students, nor do they demonstrate respect for students as individuals. Instead, these
  documents present a harsh and threatening tone and encourage students lo engage in self-selection by "kicking out"
  other students that they feet might be 1azy• or do not 'deserve the same score" as they do. Neither Mr. Gerwig nor
  Mr. Nakajima seemed to understand or maintain their "proper roles an intellectual guides and counselors." Instead, they
  wrongfully delegated their authority and duties lo students to essentially police other students In a group environment.
  Such authority and encouragement can lead to disastrous results, including the development of cliques, discriminatory
  behavior and bestowing of inappropriate authority to those who will not wield that authority in a prudential fashion.

  2. Offensive Materials In Rooms NS-252 and NS-249

  Concerning the offensive materials located in Room NS-252 and NS-249 identified herein as Items 1 through 13, ii was
  clear to the fact finder that both Mr. Gerwig and Mr. Nakajima were aware of these materials, and had essentially allowed
  their display, participated in their display°or were recklessly Indifferent to the display of these items. The display of these
  Items seems consistent with the tone as demonstrated In the two documents ldenlified as Item A and Item B above. As
  Dr. Finkenthal described, Mr. Gerwig and Mr. Nakajima encouraged a "frat house" environment in the department and
  seemed to allow and encourage discriminatory behavior, as displayed in these offensive materials, and encourage other
  students to participate in this wrongful conduct.

  Both Mr. Gerwig and Mr. Nakajima claimed that they were unaware of the more discriminatory and wrongful documents.
  However, the greater weight of the credible evidence, as described above under Section X.A.6, demonstrates that they
  were well aware of these Items, but refused lo acknowledge their presence in some attempt to evade culpability for either
  posting these materials or allowing their students to do so. Many of these items appear lo have been potentially crafted
  by students that were in the Physics and Engineering Department.

  Allowing these items to be created and then posted in the department demonstrated that Mr. Gerwig and Mr. Nakajima
  had given their imprimatur for students to engage In discriminatory and biased activttias. Indeed, some of the items that
  had been identified In the room that Mr. Nakajima and Mr. Gerwig often used (NS-249) and specifically the "carbon
  reslstersp mnemonic learning aid demonstrate a complete departure from the District's mandate of providing an academic
  environment free of discriminatory content and raclsVsexist stereotypes. That these items were openly and notoriously
  displayed In the department where students often congregated would seemingly encourage students to engage in similar
  behavior and it appears that they did so.

  In addition to obvious departures from the Dislrlcrs rules concerning discrimination and harassment, several items, such
  as various signs and notes located In room NS-252, in or about the sink and coffee service area displayed foul language
  and intimidating content that was wholly Inappropriate in a professional academic environment. The idea that Mr. Gerwig
  and Mr. Nakajima were not fully aware of all of these items Is absurd. The District has rules concerning sexual
  harassment and intimidation. B.P. 3430 l?rohlbition of Harassment states in relevant part:

           The District shall be free of sexual harassment and all forms of saxual Intimidation and exploffation
           lnclud/ng acts of sexual violsncs. II shall also be frea of other unlawful harassment, lncludln(J that which Is
           based on any of the fol/owln(} sfatusss: race, rel/9ious cresd, color, national ori(}in, ancaslty, physical

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               disability, mania/ disability, medical condition, genetic information, marllal status, sax, gander, gender
               identity, gender expression, aga, or sexual orientation of any person, or because he/she Is perceived to
               have one or more of the foregoing characteristics.                ·

      In addition, the District has rules concerning general harassment that would be based on a legally recognized protected
      characteristic. A.P. 3430 Prohibition of Harassment states in relevant part:

               General Harassment •• Harassment based on race, religious creed, color, nellonel origin, ancestry,
               physical disability, mental disability, madicel condition, genetic information, marital status, gender. gender
               identity, gender expression, sax, age, or sexual orientation of any person, or the perception that a parson
               has one or more of these characteristics Is illegal and violates District policy. Gender based harassment
               does not necassar17y Involve conduct that is sexual. Any hosl11e or offensive conduct based on gender can
               conSliluta prohibited haressmant.

      Apart from these harassment and discrimination rules, the District's mission statement requires "[dQversity in learning
      environments, philosophies, cultures, beliefs and people" as well as '[ijnclusiveness of individual and collective
      viewpoints."

      Article 3: Code of Ethics of the Constitution of the Faculty of Palomar College states, in relevant part:

               Faculty members have an obligsUon to the District, their students, colleagues, profession, the public and
...            themselves to maintain the highest Slandards of ethical conduct. In recognllion of this obligation, faculty
               members adopt the following standards of ethical conduct: Adapted from the American Association of
               Universlly Professors (AAUP) Ethics Statement.

               1. Professors, recognizing their social responsibility:
                   • Develop and improve scholarly competence,
                   • Exercise critical self-discipline and judgment In transmitting knowledge,
                   • Precl/ce intellectual honesty.

               2. Professors, as teachers:
                   • Encourage the free pursuit of leaning In their students,
                   • Damonstrsle respect for students as Individuals,
                   • Keep to their proper roles as intellectual guides and counselors,
                   • Evaluate students In an unbiased manner,
                   • Respect the confldentlallty of students,
                   • Acknowledge significant or scholarly assistance from students.
                   • Do not exploit, harass, or discriminate against their students.
               3. Professors, as co/leagues:
                   • Do not dlscrlmlnele again$/ or harass colleagues,
                   • Raspscl end defend the free inquiry of associalas,
                   • Exchange crlliclsm and Ideas,
                   • Acknowledge academic debt,
                   • Strive lo ba objective In their professional judgment of colleagues,
                   • Accapt their share of faculty responsibflitles for the governance of their insUtution.
             · 4. Professors, as members of an academic institution:
                   • Seek to be effective taschers snd scholars,
                   • Uphold scademlc freedom,
                   • Main/sin their right to criticize end seek revision,
                   • Give due regard to their responsibilities wllhln the institution, when considering termination of
                       their employmant, giva due notice of their intentions.

               5. Professors, as members of their communlly:
                   • When they speak or act ss private persons avoid creating the Impression of speaking or acting for
                       their District,
                   • Promote free inquiry and further public understanding of academic freedom.•

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  Finally, B.P. 3050 Institutional Code of Ethics states that "[t]he District Is committed to the highest ethical standards in
  furtherance of our mission of education and public service:

  Excellence in teaching, learning, and service
  Integrity as the foundation for all we do
  Access to our programs and services
  Equity and fair treatment of all in our daily interactions
  Diversity in learning environments, philosophi/Js, cultures, beliefs, end people
  Inclusiveness of individual and collective viewpoints
  Mutual respect and trust through transparency, civility, and open communications
  Creativity and Innovation in engaging students, faculty, staff, and administrators
  Physical presence and participation in the community"

  Here, Mr. Gerwig and Mr. Nakajima departed from the District's anti-harassment and discrimination rules and further
  violated their duties as faculty of the District. It was clear, based on the greater weight of the credible evidence developed
  in this lnv_estigaUon, that both Mr. Gerwig and Mr. Nakajima were aware ol the use or the inappropriate documents
  identified as Document Items A and B, above as well as the offensive materials located in rooms NS-249 and NS-252.
  Their knowledge of these items demonstrates a lack of prudential judgment and reckless indifference lo the rules of the
  organization that mean to prevent discrimination, harassment and promote an open and welcoming academic
  environment.

  In addttion to Mr. Gerwig and Mr. Nakajima'• violations of the District's rules concerning harassment and discrimination,
  as well as lhe breach of !heir ethical duties, II appeared clear lhal lhey bolh had resisted and had acled in a spiteful
  manner towards their supervisor, Dr. Kailikole. Dr. Kailikole Informed the fact finder that student reviews for
  Mr. Nakajima's class contained negative references to Dr. Kailikole that she attrlbuled lo comments by Mr. Nakajima
  made to sludents.

  Indeed, Dr. Kailil<ole is correcl in her assumption here as Mr. Nakajima acknowledged that he had told students that
  somehow Dr. Kailikole had promised addilional equipment, bul thereafter had reneged on that promise. Mr. Nakajima
  indlcaled that sludents were upset by this news. Mr. Nakajima appeared to have told students this derogatory information
  about Dr. Kaillkole in order to hold Dean Kallikole out to hatred and ridicule by his students. There was no legitimate
  business reason for Mr. Nekajima to share such Information with his sludents but for to cause students lo be angry al Dr.
  Kalilkole with whom Mr. Nakajima had differed and had actively reslsled as a subordinate instructor.

  3. Student Matter - Mr. Nakajima

  The facts in this matter demonstrate thal in April 2009 the Physics and Engineering Department had been investigaled by
  the United States Depertmenl of Education, Office of Civil Rights (Document llem D) concerning a violation of the
  Americans with Disabilities Act. Immediately !hereafter, members of the Physics and Engineering Depertment were
  required to undergo sensitivity training In education concerning the ADA, and the idea concerning reasonable
  accommodalions in an academic setting.

  Dr. Flnkenthal provided the fact finder with an email exchange, Document Item C, between a student and Mr. Nakajima.
  This email Indicates the sludenl, who had a disability and used a wheelchair, requesled an accommodation conceming
  lhe Physics 230 course and Its required lab section. The student was clearly seeking some form of accommodation when
  he wrole, ·1 was just wondering how flexible you would be under e>dreme circumstances."

  Instead of working with the sludent and/or referring him to the District's Disability Resource Center, Mr. Nakajima wrole
  back to the student advising him to lake "1,000 milligrams of Vitamin C, multivilamin, and CoQ-10, 50 milligrams or more
  every day, starting right now." Mr. Nekaiima refused lo entertain any sort of reasonable sort of accommodation for the
  studenrs disability and wrote in relevanl part, '1 can't give you an exlra treatment, but if you start laking care of yourself as
  I suggested, you should be doing better than a regular semester."

  Here, the District, per Section 604 of the Rehabilllalion Act of 1973 and TiUe II of the Americans with Disabilities Act of
   19~,. is obligated to provide accommodations to ensure the student's equal access lo the Districrs programs and
  activities. It Is the student's responsiblllly to notify instructors of the need for accommodations and thereafter the Instructor
  is required to refer the student lo the Disability Resource Center and work with the student In order to provide reasonable
  accommodaUons. In this instance, Mr. Nakajima failed in his obligation In regard to lhis potential disability. In lhis case
  the student used a wheelchair, yet Mr. Nakajima purported lo give the student advice on laking vitamins as opposed t~

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  engaging in meaningful communlcaUon concerning the use of the Disability Resource Center and the allowance or some
  form of reasonable accommodation, as required by law.

  Added to this, this exchange occurred only months after the Physics and Engineering Department had undergone an
  investigation concerning the very same sort of issue. Mr. Nakajima and others had been Interviewed in this ma lier and
  later had received training concerning reasonable accommodation requests. Even so, Mr. Nakajima failed to provide
  these required steps in potentially accon:imodaling this disabled student.

  4. Truthfulness

  Here, the greater weight of the credible evidence demonstrates that both Mr. Gerwig and Mr. Nakajima failed to be lrulhful
  in their statements to the fact finder, as well as their statements during the June 22, 2017 meeting with District
  administrators concerning the offensive materials localed In rooms NS-252 and NS-249. As detailed above, the greater
  weight of the credible evidence demonstrates that both Mr. Gerwig and Mr. Nakajima had knowledge of the materials that
  were displayed openly in areas that they frequented on a near dally basis.

  The facts were clear that both Mr. Nakajima and Mr. Gerwig were often localed In and using rooms NS-252 and NS-249
  and were reasonably well aware of the Items that were posted on doors in which they would pass and on walls In areas
  that they often frequented. Their claims that they were unaware of these Items appear to this fact finder to be directly
  untruthful and offered merely for the purposes of evading culpability for allowing and/or encouraging the posting of such
  Items.

  Here, both Mr. Gerwig and Mr. Nakajima have failed to "accept their share of faculty responsibility for the governance of
  their institution" and "practice intellectual honesty' as required by the Constitution of the Faculty of Palomar College. B.P.
  3050, the District's tnslttuUonal Code of Ethics, upholds "[ijntegrity as the foundation for all we do." Here, both Mr. Gerwig
  and Mr. Nakajima failed to demonstrate integrity concerning their discussions on June22, 2017, and then later when
  direcUy questioned specifically by the fact finder when questioned during this course of this fact-finding investigation.

  Summarv of Findinas.

  There appeared, based on the investigation, to be a pattern and practice of posting and/or allowing the posting and/or
  display of objectionable material in or about the rooms used by Mr. Gerwig and Mr. Nakajima. The fact finder determined
  that Mr. Garcia Villa, who was relatively new to the Department, was generally unaware of the true nature of the materials
  that had been displayed. However, both Mr. Gerwig and Mr. Nakajima both knew, or should heve known, that the
  materials posted in the offices and rooms that they used on a consistent basis were Inappropriate, offensive and
  discriminatory in nature, and yet they allowed the materials to remain.

  The fact finder also determined that it appeared that both Mr. Gerwig and Mr. Nakajima both provided false information at
  a meeting on June 22, 2017 wherein they disavowed knowledge or the documents that were the subject of this
  investigation. Indeed, both faculty told the fact finder that they were largely unaware of the materials, or had no
  recollection of having observed them. These statements were Inconsistent with the facts as discovered in this
  Investigation.

  In summary, based on the greater weight of the credible evidence, ii appears that both Mr. Gerwig and Mr. Nakajima were
  or should have been aware that materials that were deemed objectionable, offensive and discriminatory In nature had
  been displayed and/or allowed to be displayed In offices and school areas under their dominion and control. Even though
  both professors feigned that they were unaware of these materials, the greater weight of the credible evidence
  demonstrates that they were aware of the materials, and allowed them to be displayed in the area. This behavior tends to
  demonstrate unbecoming conduct by these professors, as the materials were seen as objectionable, inappropriate and
  discriminatory In nature.

  Addttlonally, the fact finder found that faculty members of the Physics and Engineering Department used a non-District
  website in order to disseminate a syllabus and other documents that students were required to read and/or sign and
  return ..These documents were seen as warning documents that admonished students concerning their study habits and
  how to interact with other students. These warnings and instructions appeared Inconsistent wilh the District's goal In their
  educational pursuits.

  There was Insufficient credible evidence to show that Mr. Garcia Villa was aware of the nature of these materials due to
  his lack of tenure In the Physics and Engineering Department, and his lack of use and exposure to the areas in which the


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  materials were displayed. The fact finder therefore determines that the allegations are sustained as to Mr. Gerwig and Mr.
  Nakajima, and not sustained as to Mr. Garcia Villa.


  ADMINISTRATIVE DETERMINATION.

  Based upon the investlgato(s assessment of the interviewees' credibility and documentary evidence, the burden or
  preponderance of evidence, which is required to uphold charge of unlawful discrimination and sexual harassment, is
  sufficient to sustain Dr. Finkenthal's allegations on behalf of the anonymous student. The District's administrative
  determination Is therefore to sustain the complaint against Mr. Gerwig and Mr. Nakajima and to dismiss the complaint
  against Mr. Garcia Villa. This matter Is hereby referred to the Districts administration for disciplinary action against Mr.
  Gerwig and Mr. Nakajima.

   The allegations were received and Investigated as an informal complaint, although the District ensured that the usual
   steps undertaken in a format Investigation were followed. Dr. Finkenthal and the anonymous student have the right to
   submit a formal written complaint of unlawful discrimination to the District in accordance with Title 5, § 59328 et. seq.
   using the form available on the District website at http://www2.palomar.edu/pageslhrlfites/2014/07/Discrimination-
 . Harassment-Complaint-Form-Web.pd!. The form is also available at the Human Resource Services office in room ST-1.
   A written complaint submitted in this manner may be fded up to one (1) year from the date on which the unlawful
   discrimination allegedly occurred.

  The anonymous student also has the right to file a complaint with United Slates Department of Education, Office of Civil
  Rights.     lnfonnation regarding filing a complaint with OCR is available on OCR's website at
  http:llwww2.ed.gov/abouf/offices/list/ocr/docs/howto.html or by calling OCR's office at (800) 421-3481.

  Respectfully submitted,

  Shawna H. Cohen
  Manager, Equal Employment Opportunity and Compliance
   and Deputy Title IX Coordinator
  Palomar Community College District
  November 1, 2017




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                          EXHIBITB
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             DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                        OIR{(TOR   ~£\llN   l(ISH

             2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
             lB00) 884-1684 (Voice) I (800) 700-2320 {TIY) I CalJfornla's Relay Service at 711
             http://www.dfeh.ca.gov I email: contact.center@dfeh.ca.gov




     November 16, 2018

     Evan Dwin
     Dwin Legal, APC, 2121 Palomar Airport Road Suite 170
     Carlsbad, California 92011

     RE:    Notice to Complainant's Attorney
            DFEH Matter Number: 201811-04256716
            Right to Sue: Kailikole I Palomar Community College District

     Dear Evan Dwin:

     Attached is a copy of your complaint of discrimination filed with the Department of Fair
     Employment and Housing (DFEH) pursuant to the California Fair Employment and
     Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
     Notice of Case Closure and Right to Sue.

     Pursuant to Government Code section 12962, DFEH will not serve these
     documents on the employer. You must serve the complaint separately, to all named
     respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
     information regarding filing a private lawsuit in the State of California. A courtesy "Notice
     of Filing of Discrimination Complaint" is attached for your convenience.

     Be advised that the DFEH does not review or edit the complaint form to ensure that it
     meets procedural or statutory requirements.

     Sincerely,


     Department of Fair Employment and Housing
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             DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                       PlBfCTO~   KEVIN KISH

             2218 Kausen Drive, Suite 100 I Elk Grove I CA I 9S7S8
             (8001884·1684 (Voice) t (800) 700·2120 (TTY) I California's Relay Service at 711
             http://www.dfeh.ca.gov 1email: con1act.center@dfeh.ca.gov



     November 16, 2018

     RE:    Notice of Filing of Discrimination Complaint
            DFEH Matter Number: 201811-04256716
            Right to Sue: Kailikole I Palomar Community College District

     To All Respondent(s):

     Enclosed is a copy of a complaint of discrimination that has been filed with the
     Department of Fair Employment and Housing (DFEH) in accordance with Government
     Code section 12960. This constitutes service of the complaint pursuant to Government
     Code section 12962. The complainant has requested an authorization to file a lawsuit.
     This case is not being investigated by DFEH and is being closed immediately. A copy of
     the Notice of Case Closure and Right to Sue is enclosed for your records.

     Please refer to the attached complaint for a list of all respondent(s) and their contact
     information.

     No response to DFEH is requested or required.

     Sincerely,


     Department of Fair Employment and Housing
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             DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                     OIBECTOR KEVIN klSH

             2218 l<ausen Drive, Suite 100 I Elk Grove I CA l 95758
             j800) 884·1634 (Voice) l (800) 700-2320 (ml I California's Relay Service at 711
             http://www.dfeh.ca.gov I ema!I: contact.center@dfeh.ca.gov



     November 16, 2018

     Kathryn Kailikole
     1145 Festival Road
     San Marcos, California 92078

     RE:    Notice of Case Closure and Right to Sue
            DFEH Matter Number: 201811-04256716
            Right to Sue: Kailikole I Palomar Community College District

     Dear Kathryn Kailikole,

     This letter informs you that the above-referenced complaint was filed with the
     Department of Fair Employment and Housing (DFEH) has been closed effective
     November 16, 2018 because an immediate Right to Sue notice was requested. DFEH
     will take no further action on the complaint.

     This letter is also your Right to Sue notice. According to Government Code section
     12965, subdivision (b), a civil action may be brought under the provisions of the Fair
     Employment and Housing Act against the person, employer, labor organization or
     employment agency named in the above-referenced complaint. The civil action must be
     filed within one year from the date of this letter.

     To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
     Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
     DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
     whichever is earlier.

     Sincerely,


     Department of Fair Employment and Housing
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   1                    COMPLAINT OF EMPLOYMENT DISCRIMINATION
                              BEFORE THE STATE OF CALIFORNIA
   2                  DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                      Under the California Fair Employment and Housing Act
   3                               (Gov. Code,§ 12900 et seq.)
   4
       In the Matter of the Complaint of
   5    Kathryn Kailikole                                           DFEH No. 201811-04256716

   6                                 Complainant,
   7 vs.

   8    Palomar Community College District
        1140 West Mission Road, San Marcos, CA 92069,
   9    San Marcos, California 92069
  10                       Respondents
  11
  12 1. Respondent Palomar Community College District is an employer subject to
     suit under the California Fair Employment and Housing Act (FEHA) (Gov. Code, §
  13 12900 et seq.).
  14
       2. Complainant Kathryn Kailikole, resides in the City of San Marcos State of
  15 California.

  16 3. Complainant alleges that on or about June 13, 2018, respondent took the
       following adverse actions:
  17
  18 Complainant was discriminated against because of complainant's disability
     (physical or mental) and as a result of the discrimination was terminated,
  19 suspended, denied a work environment free of discrimination and/or retaliation,
     denied reasonable accommodation for a disability, other.
  20
     Complainant experienced retaliation because complainant reported or resisted
  21 any form of discrimination or harassment, participated as a witness in a
  22 discrimination or harassment claim, requested or used a disability-related
     accommodation and as a result was terminated, reprimanded, suspended, denied a
  23 work environment free of discrimination and/or retaliation.

  24
  25 Additional Complaint Details: This case concerns the Palomar Community
       College District's ("Defendant" or the "District") campaign to discredit, discriminate
  26
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                                     Complaint - DFEH No. 201811-04256716
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   1 against, embarrass, retaliate against and illegally terminate Plaintiff Dr. Kathryn
     Kailikole ("Plaintiff or "Dr. Kailikole") who was the Dean of Mathematics and the
   2 Natural and Health Sciences ("MNHS") Division for Palomar Community College
     ("Palomar College").
   3
   4 A. Plaintiff Is Appointed As Interim Dean.

   5    On or about January 13, 2016, Daniel Sourbeer, the Dean of the Mathematics
     and the MNHS Division accepted the position of Interim Vice-President of Instruction
   6 which required the College to hire an interim Dean.
   7
       Plaintiff was hired as interim Dean of the MNHS Department or about January 13,
   8 2016 Plaintiff was recommended for the position by Sourbeer.

   9     The term of Plaintiffs written Contract to be employed as Interim Dean was
     January 13, 2016 through June 30,2016. The Agreement was amended on May
  1O 10,2016 so that Plaintiffs term as Interim Dean was extended from July 1,2016
  11 through June 30,2017. Thus, as of May 10, 2016, the administration and Board was
     plainly satisfied with Plaintiffs performance.
  12
            Pursuant to her contract, Plaintiff could only be terminated for a "material and
  13 substantial breach" of her Agreement and/or ''for cause." Cause is defined as
     "actions, omissions, or behaviors which are detrimental to the operations of the
  14
     District and/or its major instructional, student and administrative divisions, or which
  15 impair the District's mission purpose or objectives ... which includes, but is not
     limited to, unsatisfactory work performance, dishonesty, misconduct, unprofessional
  16 conduct, or insubordination."
  17   B.      Plaintiff Reports Professors Nakajima and Gerwig To The Campus
  18          Police For Improperly Using An Airgun In The Classroom.

  19        Shortly after her appointment as interim Dean, on or about April 19,2016, two
       students advised Plaintiffs assistant, Debra McBrayer of a safety concern regarding
  20   their Physics 230 Class.
  21    The students reported that Professor Takashi Nakajima ("Nakajima") used an
  22 airsoft gun as part of a rotational inertia lab in an unsafe manner. Specifically, the
     students alleged that, among other things, Nakajima failed to take appropriate safety
  23 measures and stayed in the back of the room talking with Gerwig and other students
     while the gun was being used.
  24
            Immediately after receiving the report from the two students, Ms. McBrayer
  25
       reported the incident to the Campus Police.
  26
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         When Plaintiff returned to her office, she spoke with the students and Ms. McBrayer.

     2     Ms. McBrayer informed Plaintiff that she spoke with the Campus Police. Plaintiff
       responded by calling the Campus Police and requesting that they come to her office
     3
       to speak with her.
     4
           At Plaintiff's request, the Campus Police conducted an investigation, including
     5 dispatching Officer So'Oto of the Palomar Community College Police Department to
       meet with Plaintiff and the two students.
     6
            During the course of the investigation, Plaintiff provided Officer So'Oto with a
     7
       copy of the District's policy on the use of weapons in the class room, which requires
     B that such uses are approved by the Chief of Police. The students later e-mailed Dr.
       Kailikole the details of their allegations as well as a video, which she provided to the
     9 Campus Police.
 10     In addition to reporting the matter to the Campus Police, Plaintiff reported the
 11 incident to her supervisor, Sourbeer.
         Officer So'Oto interviewed Nakajima as part of his investigation. Nakajima told him
 12 that he had been using the gun as part of his curriculum for two years.

 13          Officer So'Oto determined that Nakajima needed to get approval from the Chief
         of Police if he wanted to use the gun in class.
 14
          Accordingly, Plaintiff directed Nakajima to cease using the gun without first
 15      obtaining approval from the Chief of Police.
         At the time of the gun incident, Plaintiff had only worked for the District for about
 16      three months. Thus, she was the first (and only) administrator to ever take any
         action on Nakajima's use of an airsoft gun in his physics lab, even though it started
 17      two years before Plaintiff's appointment as Dean. Plaintiff did not receive any further
 18      complaints about the gun after she directed Nakajima to stop using ii.

 19 C.          The District Promotes Dr. Kaikole to Dean Of The MNHS Division.

 20           On April 28, 2017, Sourbeer submitted a formal evaluation of Plaintiff's
         performance as Interim Dean.
 21
 22          In the review, Sourbeer stated that Plaintiff "stepped into the MNHS Interim
         Dean position with confidence and passion." Sourbeer further stated that Plaintiff
 23      had been "a fierce advocate for students and has taken on some difficult issues."

 24        In addition, Sourbeer determined that:
 25
                        "[m]orale" was high in the division which "speaks" to Plaintiffs
 26
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   1                "ability to work effectively with faculty and staff in her
                     division."
   2
                •      Plaintiff is "an excellent communicator" and that her
   3                "contributions toward grant writing and management have
   4                 been superior."

   5             • Plaintiff has "an excellent understanding of budgets and
                   how to use them.
   6
                       Plaintiff has "a tremendous work ethic and works to
   7
                      exhaustion" and that she "wrote a funded proposal for $2m
   8                  in one day."

   9                   That the "welfare" of the students is "always in
                        [Plaintiffs] thoughts, and she is also appreciative of the
  10                    commitments and work of staff and faculty."
  11
         In May 2017, Dr. Jack Kahn was hired by the District as the Vice-President of
  12 Instruction. Rather than exercise his retreat rights, Sourbeer retired, which left open
     the permanent position of Dean of the MNHS Department. Due to its satisfaction
  13 with Plaintiffs performance as Interim Dean, the Board promoted Plaintiff to the
     position of Dean of the MNHS Department.
  14
  15     Plaintiff was hired as Dean of the MNHS Department pursuant to an
     Employment Contract with the District dated as effective April 11, 2017 and
  16 executed by Plaintiff on May 9, 2017. The term of the Employment Contract is July
     1,2017 through June 30,2019. As with her prior contracts, Plaintiff could only be
  17 terminated for "a material and substantial breach of the agreement" and/or for

  18 "cause."
  19   D.    Plaintiff Reports Racist And Sexually Harassing Conduct Bv
            Nakajima and Gerwig.
  20
            Sometime in May 2017, the Chair of the Physics and Engineering Department,
  21
       Dr. Daniel Finkenthal reported to Plaintiff that a student complained to him about
  22   various posters and other materials that were posted conspicuously on the walls and
       doors of rooms NS-249 and NS-252 in the Physics and Engineering Department.
  23   Dr. Finkenthal showed the materials to Plaintiff. NS-249 and NS-252 are rooms
       used by Nakajima and Professor Arthur Gerwig ("Gerwig").
  24   On May 31,2017, in response to the report from Dr. Finkenthal, Plaintiff reported to
       Shawna Cohen, Manager Equal Employment Opportunity and Compliance with the
  25
       District's Deputy Title IX Coordinator, that she received the report regarding the
  26

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   1 offensive postings. The next day, a group of administrators reviewed the materials
     and removed them after determining that the postings violated federal, state and
   2 District nondiscrimination regulations, including Title IX.
   3
       The postings included:
   4
           • A recitation of a nmeumonic device stating: "Black Boys
   5            Rape Our Young Girls But Violet Gives Willingly Get Some
                Now."
   6
              •          A posting entitled "Vogue May Edition" which portrayed a
   7
                      student lying across the hood of a pickup truck holding a
   8                  piece of paper with a drawing of a penis in an enlarged and
                      gratuitous characterization.
   9
                  •        A posting portraying a latino student named Juan which
  10                   stated "2017 you know you juant me?/Hello Ladies" as a
 11                    racist play on the student's name.

 12               •         A sexually harassing and racist posting which stated "Dick
                        got her like" which was accompanied by a hashtag remark
  13                    of "#black cock slut."
  14
                      • A derogatory posting about a female student, who is short
  15                    in stature, which stated "Jen's Height in Influence".

  16     Plaintiff is informed and believes that students, student assistants employed by
     the District and faculty, including females, latinos and other members of minority
  17 groups, were or could be subjected to the postings.
  18
      Because of the seriousness of the allegations, and the facially harassing content of
 19 the postings personally observed by Plaintiff and the other administrators, Plaintiff
    recommended that Nakajima and Gerwig be removed from the classroom. This
 20 request was denied.
 21
          On June 28,2017, nearly a month after Plaintiff reported the harassing postings
  22 to Ms. Cohen, Adrian Gonzalez, the Assistant SuperintendenWice President,
     Student Services and the District's Title IX Coordinator, notified Ms. Cohen that an
  23 investigation was required.
     The investigation was conducted by an outside attorney, Jeffrey Love. In conducting
  24 his investigation of the postings, Mr. Love interviewed Dr. Finkenthal, Plaintiff,
  25 Nakajima, Gerwig, Hector Garcia Villa, another Physics and Engineering Professor,
 26
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   1 and Susan Snow, a professor in the Mathematics Department who was also
     Nakajima's and Gerwig's union representative.
   2
          On November 1, 2017, four months after Plaintiff reported the postings, Mr.
   3
     Love issued a summary of his investigation. In the report, Mr. Love concluded that
   4 Nakajima and Gerwig were not credible and that their claimed unawareness of the
     postings was not plausible. In fact, Mr. Love concluded "clearly [Nakajima and
   5 Gerwig] were aware of these materials [and] had either displayed the items
     themselves or allowed and even encouraged others to do so." Mr. Love further
   6 concluded that Nakajima and Gerwig demonstrated a general attitude of indifference
     to following the rules of the District concerning the avoidance of sexual harassment,
   7
     discrimination and maintaining a wholesome student academic environment."
   8
            Mr. Love found Dr. Finkenthal and Plaintiff to be credible witnesses.
   9
            Notably, this was not the first time Nakajima and Gerwig were found to engage
  1O in discriminatory conduct. In 2009 (seven years before Plaintiff worked at the
  11 College), the United States Department of Education's OCR Office found that
     Nakajima and Gerwig failed to accommodate a student with a disability. Plaintiff is
  12 informed and believes that instead of imposing any actual discipline for
     discriminating against a disabled student, the District required Nakajima and Gerwig
  13 to undergo sensitivity training. Plaintiff is also informed and believes that the District
     and prior administrators received other complaints about Nakajima and Gerwig but
  14
     that no action was ever taken against them. Further, during the investigation of the
  15 illegal postings, Dr. Finkenthal informed the investigator that shortly after the
     sensitivity training, also in 2009, Nakajima refused to accommodate a student who
  16 used a wheelchair and even told the student that he should just take vitamins and
     "take care" of himself.
  17
  18       On November 27, 2017, Dr. Norman e-mailed Plaintiff and specifically instructed
       Plaintiff to involve Dr. Finkenthal in the oversight of Nakajima and Gerwig and to
  19   have Dr. Finkenthal observe Nakajima and Gerwig so that he could substantiate any
       complaints. Dr. Norman further made it clear that the District would not place
 20    Nakajima and Gerwig on any type of leave, even paid leave, so as to avoid doing
       anything that may "create liability and deviate from our goals and mission."
 21
 22      Dr. Norman's e-mail appeared to request that she wanted Plaintiff and Dr.
    Finkenthal to handle overseeing to Nakajima and Gerwig and made it clear that the
 23 Title IX office was afraid to take any action to protect students from Nakajima and
    Gerwig.
 24
 25       On December 4, 2017, Plaintiff met with Dr. Jack Khan, the Assistant
       Superintendent and Vice-President Instruction to discuss her job duties. In the
 26
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   1 meeting, Plaintiff discussed her overwhelming work load and advised Dr. Khan that
     she was suffering from anxiety. Dr. Kahn assured Plaintiff that she was an
   2 "incredibly valuable member of the team" and that he was dedicated to providing her
     with his "complete support." Dr. Kahn also promised that they would meet again to
   3
     review Plaintiffs schedule "and discuss strategies to help structure (her] workload
   4 better." Dr. Kahn further stated he "look(ed] forward to continuing" to work together.
     At no point did Dr. Kahn indicate that he believed Plaintiff had done anything that
   5 would place her job in danger. To the contrary, Dr. Kahn expressed his overall
     satisfaction with Plaintiffs work, confirmed that she was "incredibly valuable," and
   6 pledged to accommodate her medical condition.
   7
          On December 12, 2017, the District determined that Nakajima and Gerwig
   8 would only be placed on unpaid leave for one month even though they had a history
     of discriminatory conduct, were just found not only to have engaged in overtly racist
   9 and sexually harassing conduct but also were found to have lied about their sexist
     and racist conduct to the investigator. Dr. Kailikole is informed and believes that this
  10 grossly inadequate punishment was part of a pattern and practice by the District to
  11 cover up misconduct by Gerwig and Nakajima, even though it knew their continued
     presence in the classroom subjected students and faculty to discriminatory and
  12 harassing conduct.
  13 E.      Plaintiff Is Wrongfully Placed On Leave, Non-Renewed And
            Terminated.
  14
  15        On December 14, 2017, two days after Nakajima and Gerwig were essentially
       excused from punishment and barely a week after she disclosed her disability,
  16   Plaintiff was suddenly placed on paid leave. Plaintiff was given no warning and was
       not given any specific reason for being placed on leave. In fact, she was escorted
  17   out of her office like a criminal, locked out of her e-mail account and, importantly,
  18   instructed not to return to campus or speak with anyone from the College. The only
       information Plaintiff was given was that she was purportedly under investigation for
  19   some unspecified "breach of confidential information." From that point forward,
       Plaintiff was completely cut-off from the College.
 20
           The District left Plaintiff on paid leave for 5 months without ever informing her of
 21 the specific nature of the charges against her. During the time Plaintiff was on paid
 22    leave, faculty members were falsely told that Plaintiff was on medical leave. Plaintiff
       could not do anything about the false information the District was disseminating
 23    about her because the District prohibited her from contacting anyone.
 24         In January 2018, Dr. Kailikole hired an attorney and throughout January and
 25    February of 2018 made repeated attempts to obtain further information about why
       she was placed on leave. However, the District refused to provide any substantive
 26
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   1 information. The only thing the District would disclose to Dr. Kailikole was that the
     investigation originated in the Physics and Engineering Department. When provided
   2 with this information, Dr. Kailikole informed the District that she believed the decision
     to suddenly place her on leave and investigate her was in retaliation for reporting
   3
     Nakajima and Gerwig's misconduct.
   4
           On February 27 ,2018, the District decided to non-renew Plaintiff's contract.
   5 The District did not provide Plaintiff with any reason whatsoever for the decision not
     to renew her contract.
   6
           On February 28,2018, the day after her contract was non-renewed without
   7
     explanation, Plaintiff was interviewed by the District's investigator about, among
   8 other things, the incident where Nakajima and Gerwig used an airsoft gun in the
     classroom.
   9
          Plaintiff informed the investigator that Dr. Lisa Norman had asked about the
  1O airsoft gun incident during the investigation of the racially and sexually harassing

  11 conduct by Nakajima and Gerwig. Plaintiff also informed the investigator that she
     contacted Dr. Finkenthal with information about that incident to make sure it was not
  12 being used any more. Dr. Finkenthal said he did not think a gun was being used
     and requested further information so he could check on it. Accordingly, on or about
  13 December 8, 2017, Plaintiff forwarded Dr. Finkenthal an e-mail about the airsoft gun
     incident. Plaintiff is informed and believes that Dr. Norman reviewed this e-mail as
  14
     part of a search of Dr. Kailikole's e-mails that was done without Dr. Kailikole's
  15 consent and as part of an effort by the District to look for information to discredit Dr.
     Kailikole after she reported Nakajima's and Gerwig's racist and harassing behavior.
  16
          Plaintiff's obvious, and only purpose, in forwarding the e-mail about the gun
  17 incident to Dr. Finkenthal was so that Dr. Finkenthal could confirm Nakajima and
     Gerwig were following Plaintiff's prior directive not to use the gun in the interest of
  18
     student safety. Advising Dr. Finkenthal of the prior incident with the airsoft gun was
  19 also consistent with the recommendation by Dr. Norman, the Assistant
     SuperintendenWice President, Human Resources, that she involve Dr. Finkenthal in
  20 her oversight of Nakajima and Gerwig.
  21       When the District's investigator interviewed Plaintiff, he asked her if she ever
  2 2 agreed   with Dr. Finkenthal that he would provide information about the airsoft gun
      incident to any person. Plaintiff informed the investigator that she never had any
  23 agreement with Dr. Finkenthal to provide the information to anyone else. The
      investigator asked Plaintiff if Dr. Finkenthal ever indicated to her that he intended to
  24 provide the information about the airsoft gun incident to his wife or members of the
      District's governing Board or "anything like that." Plaintiff informed the investigator
  25
  26
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  1 that Dr. Finkenthal never indicated to her that he planned to provide the information
    to anyone else.
  2
         On or about March 4, 2018, a faculty member sent Plaintiff an unsolicited text
  3
    message informing Plaintiff that Dr. Kahn was telling faculty members that Plaintiff
  4 was not returning. Given that the investigator told her it would be several weeks
    before he completed his investigation and would issue his report, it was clear to
  5 Plaintiff that the District had already decided to terminate her and that it was simply
    using the investigator to manufacture a purported reason.
  6
         On May 2, 2018, nearly two months after it began telling faculty members that
  7
    Plaintiff was not returning, Plaintiff received a letter informing that Dr. Kahn was
  8 recommending her termination.

  9        One of the reasons stated for Plaintiffs termination was the absurd and
      implausible conclusion by the District's investigator that Plaintiff did not forward Dr.
 10   Finkenthal the information about the gun incident for the logical, obvious and entirely
 11   proper purpose of advising the Chair of the Department of relevant information in
      connection with his oversight of two Professors who had just been found guilty of
 12   grossly improper racist and harassing conduct in the classroom. Instead, the
      investigator claims, Plaintiff was actually part of a conspiracy to leak confidential
 13   information outside the College. According to the investigator's report, the full extent
      of the alleged conspiracy was that Plaintiff would forward the e-mail to Dr.
 14
      Finkenthal, who would then forward the e-mail to his wife. The only "evidence" cited
 15   in support of this ridiculous conclusion is that, three days after Plaintiff forwarded the
      e-mail about the gun incident to Dr. Finkenthal, Dr. Finkenthal forward the e-mail to
 16   his wife. Of course, Plaintiff had no idea that Dr. Finkenthal forwarded the e-mail to
      his wife or anyone else, and she certainly did not ask him to do it. Indeed, there is
 17   there a complete lack of evidence that Plaintiff was involved in any such
 18   "conspiracy.' The very idea that Plaintiff conspired with Dr. Finkenthal to expose
      Nakajima's and Gerwig's misdeeds to Dr. Finkenthal's wife is nonsensical.
 19   Accordingly, Plaintiff is informed and believes that alleged leak 'conspiracy" was
      manufactured to try to cover up the true, discriminatory and retaliatory reasons for
 20   Plaintiffs termination.
      Notably, the investigator's report does not list a specific person who made a
 21
      complaint about Dr. Kailikole. Instead the report simply states that it was "internally
 22   generated at the request of Human Resources." Further, the investigator
      interviewed only two witnesses, Plaintiff and Dr. Finkenthal. He did not interview
 23   anyone from the Human Resources department even though someone in the
      department purportedly originated the complaint. The investigator also did not collect
 24   or review any documents related to the origins of the investigation.
 25
 26
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  1          In addition to the absurd allegation that she conspired to leak confidential
      information to Dr. Finkenthal's wife, the May 2, 2018 letter recommending Plaintiffs
  2   termination contains a list of alleged performance issues, none of which were ever
      presented to Plaintiff as potential reasons for any type of discipline, let alone
  3
      termination.
  4   To add insult to injury, as an additional purported reason for the termination, the
      District stated Plaintiff purportedly failed to appropriately monitor Nakaiima and
  5   Gerwig. This reason is false and pretextual on its face, given that Plaintiff was the
      first Dean to actually risk exercising any supervision over Nakajima and Gerwig.
  6   including reporting their overtly racist and sexually harassing conduct to the District
  7   only to see the District willfully fail to take any real action. Plaintiff is informed and
      believes that the District was angered and embarrassed by Plaintiffs reporting of the
  8   harassing conduct by Nakajima and Gerwig because it required the District to take
      action against tenured professors which risked raising suspicions and questions by
  9   students and faculty if they were punished appropriately, such as by termination or
      placement on an extensive leave. Plaintiff is further informed and believed that the
 1O   District wanted to punish Plaintiff for asserting her rights by suggesting that the
 11   investigation was illegitimate and retaliatory.

 12       On June 13,2018, the District terminated Plaintiffs employment.

 13        The District's decisions to place Plaintiff on paid leave, non-renew her contract
      and terminate her were all clearly made to retaliate against her for complaining
 14
      about Nakajima's and Gerwig's illegal conduct, which it quickly swept under the rug
 15   by issuing a disproportionately light penalty they served over winter break, for
      reporting that the purported investigation of the "confidentiality" issue was pretextual
 16   and retaliatory, and to discriminate against Plaintiff based upon, and to avoid
      accommodating, Plaintiff's mental health condition. Indeed, until the District was
 17   forced to deal with Plaintiffs disability and her complaint about Nakajima and
 18   Gerwig's conduct and the investigation, she was never given any indication that her
      job - to which she had recently been promoted - was in any danger whatsoever.
 19   Prior to being suddenly placed on leave, Plaintiff had a reputation at the College as a
      strong leader, an advocate for students, a talented fundraiser, and, above all, an
 20   educator dedicated to the College's mission. Plaintiff was completely humiliated by
      her sudden removal from campus, the non-renewal of her contract and being
 21
      subjected to a sham investigation and termination over allegations manufactured by
 22   the District to punish her for raising the embarrassing issue of racism and sexual
      harassment in the classroom and to discriminate against Plaintiff for. and to avoid
 23   accommodating, Plaintiff's mental health condition. As a result of this illegal conduct
      by the District, Plaintiff has suffered lost back wages and benefits, lost future
 24   earnings and benefits, lost promotions, extreme amounts of emotional distress and
      other damages.
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      Date Filed: November 16, 2018
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   1      Plaintiff alleges causes of action under Government Code section 12940 et
     seq., including under Government Code section 12940(a), Government Code
   2 section 129400), Government Code section 12940(m) and Government Code
     section 12940(n), as well as claims for retaliation in violation of Labor Code section
   3
     1102.5 and violations of federal law, including 20 U.S.C. section 1681 and 42 U.S.C.
   4 section 2000d.

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   1 VERIFICATION

   2 I, Kathryn Kailikole, am the Complainant in the above-entitled complaint. I have
     read the foregoing complaint and know the contents thereof. The same is true of my
   3
     own knowledge, except as to those matters which are therein alleged on information
   4 and belief, and as to those matters, I believe it to be true.

   5 On November 16, 2018, I declare under penalty of perjury under the Jaws of the State
     of California that the foregoing is true and correct.
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                                                                             San Marcos, CA
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